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           IN THE UNITED STATES DISTRICT COURT
               FOR THE DISTRICT OF DELAWARE


ROBERT S. GARNER, on behalf of
himself and all others similarly
situated,

           Plaintiff,
                                                   C.A. No. _____________
     v.

GLOBAL PLASMA SOLUTIONS
INC.,                                              JURY TRIAL
                                                   DEMANDED
           Defendant.




                    CLASS ACTION COMPLAINT
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        Plaintiff Robert S. Garner brings this action on behalf of himself

and all others similarly situated against Defendant Global Plasma

Solutions Inc. Plaintiff makes the following allegations pursuant to the

investigation of counsel and based upon information and belief, except

as to the allegations specifically pertaining to himself, which are based

on personal knowledge.

                              INTRODUCTION

        1.    Global Plasma Solutions Inc. preys on people desperate to

cleanse the air and protect themselves from ailments including the

COVID-19 virus.

        2.    Despite representations that its Products 1 clean the air –

including eliminating the COVID-19 virus – Defendant’s products make

the air worse for people because the products reduce some volatile

organic compounds (VOCs) but actually increase the concentration

of other VOCs.




1The Products included with this definition include all products that used
Defendant’s NPBI technology. Presently this includes the GPS-FC48-AC, GPS-
FC24-AC, GPS-DM48-AC, GPS-FC-3-BAS, GPS-IMOD, GPS-IRIB-18, and GPS-
IRIB-36.
                                        1
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      3.    To further its deception – while also hiding significant

defects in its Products – Defendant deceptively represents company-

funded testing as “independent” while also using test conditions that

are not representative of the real-world use of the Products.

      4.    Defendant’s “profits over people” scheme won the company

acclaim, publicity, and generated hundreds of millions of dollars in sales

at the expense of the Plaintiff and Class Members across the country.

      5.     “The worst thing that can happen is installing a product you

believe is keeping you safe, but it’s not.” 2 But that is precisely what

GPS is doing, instilling customers with a false sense of security through

misleading claims.

      6.    Further, Defendant overstates its Products’ COVID-19

mitigation performance and uses methods that are “unvalidated” 3 and




2Quote  from Global Plasma Solutions Vice President of Sales David Archer. Why
Your Customers Should Care About Their Indoor Air Quality
https://globalplasmasolutions.com/articles/why-your-customers-should-care-about-
their-indoor-air-quality.
3 Talia Wiener, Parents Tell Montclair District: We’re Worried New Air Cleaners

Aren’t’ Safe, MONTCLAIR LOCAL (April 22, 2001),
https://www.montclairlocal.news/2021/04/22/parents-tell-montclair-district-were-
worried-new-air-cleaners-arent-safe/.

                                        2
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“under conditions that are not representative of actual application

conditions.” 4

        7.    For example, in one instance, Global Plasma Solutions used

a chamber the size of a shoebox to support its claim that its Products

could kill COVID-19 for a home or school. In another instance, Global

Plasma Solutions “blasted” the testing chambers with 27,000 ions per

cubic centimeter – far in excess than concentrations achievable by its

Products.

        8.    When Defendant’s Products have been independently tested

in real world conditions, they consistently fail to achieve the results as

represented by Defendant.

        9.    COVID-19 has taken more than 578,000 American lives.

        10.   In an effort to capture dollars from COVID-19 fear,

Defendant markets directly to consumers seeking protection and relief

from the virus.




4 Ross Pomeroy, Schools Are Spending Millions on Ionization Technology to Fight
COVID and There’s No Good Evidence It Works, MASS LIVE (January 22, 2021),
https://www.masslive.com/coronavirus/2021/01/schools-are-spending-millions-on-
ionization-technology-to-fight-covid-and-theres-no-good-evidence-it-works.html.
                                        3
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        11.   This tactic is “enhanced” by Defendant’s marketing which

provides information to consumers on how to obtain government

funding to purchase Defendant’s Products.

        12.   These “free money” purchases boost the Defendant’s

revenues by not only taking from tax funds but also shifting these

precious dollars away from effective means of virus mitigation.

        13.   However, as Defendant knows, its Products suffer from

defects which cause its Products to fail to meet its lofty representations.

Thus, the Defendant’s representations that its products are a safe

technology to cleanse the air of VOCs and the COVID-19 virus without

generating harmful byproducts is false, misleading, and designed to

deceive consumers into paying a price premium and choosing its

products over a competitor’s product.

        14.   In pursuit of “profits over people,” Global Plasma Solutions

uses many deceptive representations as described herein.

        15.   For example, Defendant deceptively represented that its

technology was installed in the White House for COVID mitigation: 5



5Gregory Barber, The Ionizer in Your School May Not Do Much to Fight Covid,
WIRED (March 26, 2021), https://www.wired.com/story/ionizer-school-not-fight-
covid/.
                                        4
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        A spokesperson for the company directed WIRED to research
        commissioned by the company showing the technology
        neutralized SARS-CoV-2 on surfaces and aerosols in lab
        settings, as well as case studies from customers including
        universities and the White House.

However, the technology was installed in 2018 – well before COVID-19

appeared. 6

        16.   Defendant manufactures, sells, and distributes the Products

using marketing and advertising campaigns specifically targeted to

consumers that are aware and fearful of the COVID-19 virus.

        17.   For example, in CEO Glenn Brinckman’s words, “it’s all

about pathogens and coronavirus and COVID-19.” 7

        18.   Plaintiff and those similarly situated (“Class Members”)

relied on Defendant’s misrepresentations.

        19.   Defendant’s fraudulent, deceptive, and misleading conduct

violated and continues to violate the consumer protection statutes of

multiple states. Further, Defendant breached and continues to breach




6 Additionally concerning, Defendant used the White House logo in its marketing to
project legitimacy of its Products even though the White House logo may not be
used for marketing purposes.
7 Ashley Fahey, Add Air Quality to The Growing List of Items Landlords Should

Consider Before Workers Return to The Office, CHARLOTTE BUSINESS JOURNAL (May
6, 2020), https://www.bizjournals.com/charlotte/news/2020/05/06/add-air-quality-to-
the-growing-list-of-items.html?iana=hpmvp_clt_news_headline.
                                         5
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its implied and express warranties regarding the Products.

Additionally, Defendant has been and continues to be unjustly enriched.

Accordingly, Plaintiff brings this action against Defendant on behalf of

himself and Class Members who purchased the Products during the

applicable statute of limitations period (the "Class Period").

                                PARTIES

     20.   Plaintiff is a citizen of Maryland and domiciled therein.

     21.   Defendant Global Plasma Solutions, Inc. is a Delaware

corporation with its principal place of business located in Charlotte, NC.

Defendant manufactures, markets, and distributes its products

throughout the United States.

     22.   Plaintiff reserves the right to amend this Complaint to add

different or additional defendants, including without limitation any

officer, director, employee, supplier, or distributor of Defendant who has

knowingly and willfully aided, abetted, or conspired in the false and

deceptive conduct alleged herein.

     23.   Whenever reference is made in this Complaint to any

representation, act, omission, or transaction of a defendant, that

allegation shall mean that the defendant did the act, omission, or


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transaction through its officers, directors, employees, agents, and/or

representatives while they were acting within the actual or ostensible

scope of their authority.

                     JURISDICTION AND VENUE

     24.   This Court has personal jurisdiction over the Defendant

because the Defendant is incorporated in the State of Delaware; has

consented to jurisdiction by registering to conduct business in this state;

maintains sufficient contacts in Delaware; and otherwise intentionally

avails itself of the markets within Delaware through the promotion,

sale, marketing and distribution of its Products in and from Delaware,

which renders the exercise of jurisdiction by this Court proper and

necessary as Defendant is “at home” in Delaware.

     25.   This Court has original subject-matter jurisdiction over this

proposed class action pursuant to 28 U.S.C. § 1332(d), which, under the

provisions of the Class Action Fairness Act (“CAFA”), explicitly provides

for the original jurisdiction of the federal courts in any class action in

which at least 100 members are in the proposed plaintiff class, any

member of the plaintiff class is a citizen of a State different from any

defendant, and the matter in controversy exceeds the sum of


                                      7
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$5,000,000.00, exclusive of interest and costs. Plaintiff alleges that the

total claims of individual members of the proposed Class (as defined

herein) are well in excess of $5,000,000.00 in the aggregate, exclusive of

interest and costs. In addition, this Court has supplemental jurisdiction

over Plaintiff’s state law claims under 28 U.S.C. § 1367.

      26.   Venue is proper in this District under 28 U.S.C. § 1391

because Defendant is incorporated within this District and a

substantial part of the events or omissions giving rise to the claims

occurred within this District.

                        FACTUAL ALLEGATIONS

    A. The Market for Air Treatment Systems

      27.   The COVID-19 pandemic has caused demand for air

treatment systems (ATS) to skyrocket.

      28.   In 2020, the ATS market grew by 57% and is expected to

have a double-digit growth rate in each of the next two years. 8

      29.   Market growth at these rates is unprecedented.




8Air Purifier Sales Surge in the U.S. Amid the COVID-19 Pandemic, VERIFY
MARKETS (January 26, 2021), https://www.globenewswire.com/news-
release/2021/01/26/2164712/0/en/Air-Purifier-Sales-Surge-in-the-U-S-Amid-the-
COVID-19-Pandemic.html.
                                        8
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      30.    For example, one air filter company CEO was so

overwhelmed with orders that he had to turn customers away and

stated, “I’ve been in this business for 20 years and this is the most

chaotic time I’ve ever had in the air filter business.” 9 In summary, he

described the demand from customers as “like toilet paper in April

[2020] times two.” 10

      31.    As a result of COVID-19’s airborne transmission, residential

and commercial customers sought air treatment systems to ensure

safety.

      32.    COVID-19 has taken more than 575,000 American lives.

      33.    Certain underlying medical conditions that are relatively

common in the population produce a significantly increased risk of

death when a person is infected with COVID-19.




9 Will Feuer, Airborne Transmission of Coronavirus Has Made High-End Air
Filtration Systems More Popular Than ‘Toilet Paper in April’ As HVAC Systems Sell
Out, CNBC (October 15, 2020), https://www.cnbc.com/2020/10/15/airborne-
transmission-of-coronavirus-has-made-high-end-air-filtration-systems-more-
popular-than-toilet-paper-in-april.html.
10 Id. (referring to the demand for toilet paper during the onset of the pandemic that

led to shortages, fights, and arrests as consumers battled for toilet paper).

                                          9
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      34.   For example, one common underlying condition is age.

Compared to the CDC reference group, adults aged 30-39 are 45x more

likely to die from COVID and 10x more likely to be hospitalized. 11

      35.   With each successive age group, these numbers increase

drastically until hitting frightening numbers for people aged 65 and

above:

                 Age Range        Death      Hospitalization
                   65-74          1300x           40x
                   75-84          3200x           65x
                    85+           8700x           95x

      36.   To protect people, locations that have high amounts of “foot

traffic” in an indoor setting have invested in safety precautions to

mitigate the spread of COVID-19.

      37.   The feeling of safety and security is pivotal to the public. As

a result, there is strong demand for goods and procedures that “may

make people feel safer without actually being substantially safer.” 12




11Center for Disease Control, Older Adults, https://www.cdc.gov/coronavirus/2019-
ncov/need-extra-precautions/older-adults.html (updated April 16, 2021).
12Lindsay Christians, Cold Comfort: With Winter On Its Way, Madison Restaurants

Scramble To Stay Alive, THE CAPITAL TIMES (November 7, 2020),
https://madison.com/ct/entertainment/dining/cold-comfort-with-winter-on-its-way-
madison-restaurants-scramble-to-stay-alive/article_2fdc210d-f78e-55cb-a251-
96fc41516a1e.html.
                                       10
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      38.   Installation of air treatment systems has been one of the

most popular mitigation efforts.

      39.   Because of the strong likelihood of death for the elderly

population, senior living facilities have invested heavily in air

treatment systems.

      40.   Because of the strong likelihood of children acting as super

spreaders, 13 schools from coast to coast invested heavily in air

treatment systems to protect not only the students and school staff but

also their friends and family.

      41.   Because of the strong desire to celebrate their faith in

person, religious organizations throughout the country invested in air

treatment systems to allow congregations to worship safely.

      42.   In addition to these public areas, similar concerns caused

demand and interest to swell with residential owners.




13MGH News and Public Affairs, Children’s Role In Spread Of Virus Bigger Than
Thought, THE HARVARD GAZETTE (August 20, 2020),
https://news.harvard.edu/gazette/story/2020/08/looking-at-children-as-the-silent-
spreaders-of-sars-cov-2/.

                                        11
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       43.   One survey found that the COVID-19 pandemic caused a

54% increase in consumer focus for indoor air quality in their homes. 14

       44.   The Wall Street Journal labeled clean air as the next luxury

apartment perk, and Elisa Orlanski Ours, Chief Planning and Design

Officer for Corcoran Sunshine, stated, “Air quality is now front of mind

for our buyers.” 15

       45.   Throughout every business sector and every home, demand

for clean air and the equipment that creates the perception of clean air

is growing exponentially.

       46.   To harness this demand, companies, like Global Plasma

Solutions, have increased marketing efforts and product lines.

     B. Global Plasma Solutions: The Company and the Products

       47.   Global Plasma Solutions was founded in 2008. The

company’s previous focus was providing energy savings solutions.

However, when the COVID-19 pandemic hit, the company’s focus



14 New Survey Reveals Increased Concern for Air Quality and Safety in Homes, PR
NEWSWIRE (October 28, 2020), https://www.prnewswire.com/news-releases/new-
survey-reveals-increased-concern-for-air-quality-and-safety-in-homes-
301162159.html.
15 Katy McLaughlin, CLEAN AIR: THE NEXT LUXURY APARTMENT PERK,

WALL STREET JOURNAL (December 9, 2020), http://www.wsj.com/articles/clean-air-
the-next-luxury-apartment-perk-11607526064.

                                       12
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shifted, and in CEO Glenn Brinckman’s words, “it’s all about pathogens

and coronavirus and COVID-19.” 16

       48.   The backbone of Global Plasma Solutions’ product line is its

patented Needlepoint Bipolar Ionization technology (NPBI).

       49.   NPBI is used in all seven of Defendant’s Products.

     C. Global Plasma Solutions Represents to Consumers that Its
        Products Will Improve Air Quality Without Harmful Side
        Effects

       50.   In marketing the Products, Defendant makes numerous

representations regarding the performance and abilities of its Products

and the benefits purchasers should expect to gain therefrom.

       51.   This uniform, widespread marketing campaign is

coordinated to present universal representations concerning the

effectiveness of Defendant’s Products and the NPBI technology.

       52.   These representations fall into a few broad categories:

         a. Representations that the Products are superior to other air

             treatment system technologies;

         b. Representations that the Products eliminate VOCs;


16 Ashley Fahey, Add Air Quality to The Growing List of Items Landlords Should
Consider Before Workers Return to The Office, CHARLOTTE BUSINESS JOURNAL (May
6, 2020), https://www.bizjournals.com/charlotte/news/2020/05/06/add-air-quality-to-
the-growing-list-of-items.html?iana=hpmvp_clt_news_headline.
                                        13
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        c. Representations that the Products have no harmful

            byproducts;

        d. Representations that the Products are safe to use;

        e. Representations that the Products produce cleaner air;

        f. Representations that the Products are capable of achieving

            quantified toxin-removal benchmarks (for example, that its

            technology can reduce SARS-CoV-2 by 98.33% within 60

            minutes);

        g. Representations that Defendant’s assertions about the

            Products are based on “independent testing;”

        h. Representations that attempt to capitalize on the COVID-19

            pandemic.

     53.    These representations are false, misleading, and deceptive:

     Representation Category               False, Misleading, and Deceptive
                                      Comparisons to other technologies are
Products are superior to other air    based on the other misrepresentations
treatment system technologies         herein.
                                      Independent studies show the Products
                                      actually increase the concentration of
Products eliminate VOCs               other harmful VOCs.
                                      Independent studies show the Products'
                                      byproducts include harmful toxins
                                      including Acetone, Ethanol, Toluene, and
Products have no harmful byproducts   Butyraldehyde.


                                      14
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                                        Independent studies show the Products'
                                        byproducts include harmful toxins
                                        including Acetone, Ethanol, Toluene, and
Products are safe to use                Butyraldehyde.

                                        Independent studies show that the
                                        Products are not effective at cleaning the
                                        air in real world conditions. Further, the
                                        studies show that the Products' byproducts
                                        include harmful toxins including Acetone,
Products produce cleaner air            Ethanol, Toluene, and Butyraldehyde.
Products are capable of achieving
quantified toxin-removal benchmarks
(for example, that its technology can
reduce SARS-CoV-2 by 98.33% within      These benchmarks fail to be replicated in
60 minutes)                             real world environments.

                                        Defendant's testing is fundamentally
                                        flawed and biased because these company-
                                        funded studies are not "independent."
                                        Further, Defendant's test results are not
                                        replicated in real world conditions because
Defendant’s assertions about the        Defendant's tests are carefully constructed
Products are based on “independent      in order to achieve the outcomes
testing”                                Defendant desires.
                                        Through a coordinated campaign to profit
                                        from COVID-19 fear, Defendant overstates
Attempts to capitalize on the COVID-    the efficacy of its Products’ ability to
19 pandemic                             eliminate COVID-19.

     54.    These representations were promulgated to the public

through Defendant’s website, social media, YouTube videos,

testimonials, third party publications, and other media. Below is a non-

exhaustive selection of the representations made by Global Plasma

Solutions concerning its NBPI Products.



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      55.    Defendant represents that its Products are superior to other

air treatment system technologies. 17

         a. “That’s why GPS is committed to science and ongoing

             research to ensure we have the safest, most effective

             technology on the market.” Charles Waddell, GPS’

             Founder and Chief Technology Officer. 18

         b. “Most important, unlike many other solutions on the

             market, GPS NPBI technology is also safe for

             occupied spaces.” 19

         c. In a podcast interview, shared on the Global Plasma

             Solutions’ official Facebook page on June 15, 2020, Founder

             and CTO, Charlie Waddell states: 20

                i. “You know, half the filters and UV lights are what I

                   consider passive devices, they sit there and they wait

                   for stuff to come to them. Our technology NPBI is



17 Emphasis added throughout.
18 Global Plasma Solutions, The Future of Indoor Air Quality Is Now,
https://globalplasmasolutions.com/articles/the-future-of-indoor-air-quality-is-now.
19 Global Plasma Solutions, PROJECT SPOTLIGHT: Boston Children’s Hospital,

https://globalplasmasolutions.com/articles/project-spotlight-boston-childrens-
hospital.
20 Global Plasma Solutions’ Official Facebook Page, June 15, 2020,

https://www.facebook.com/globalplasmasolutions/posts/190279179097329.
                                         16
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                  actually going out into the space and seeking out

                  these contaminants within the space. So that's

                  really solving the problems as we see them today.

                  Where you have people talking coughing, sneezing,

                  generating the actual contaminants in the space. So I

                  would rather see a technology actively coming out into

                  the space to treat those contaminants versus waiting

                  for them to come back to the air handler to be reactive

                  versus proactive.” 21

         d. In a presentation entitled “How to Make your HVAC System

            Pandemic Ready using Needlepoint Bipolar Ionization” by

            Charlie Waddell, Defendant’s Founder and CTO: 22




21Id. at approximately the 4:00 minute mark.
22Global Plasma Solutions Presentation (conducted by Charlie Waddell), How to
Make your HVAC System Pandemic Ready using Needlepoint Bipolar Ionization,
https://www.total-mechanical.com/wp-content/uploads/2020/09/How-to-Make-Your-
HVAC-Pandemic-Ready.pdf.
                                      17
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         e. In a sales presentation from September 1, 2020, Defendant

            compares its technology vs. competitor technologies: 23




23Global Plasma Solutions Sales Presentation, Better Air through Science,
September 1, 2020, https://www.sde.idaho.gov/communications/files/public-records-
requests/GPS-Presentation.pdf (slide 13).

                                       18
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      56.     Defendant represents that its Products eliminate VOCs. 24

         a. “Odors neutralized by destroying VOCs.” 25

         b. “Needlepoint bipolar ionization (NPBI®) technology breaks

              down odors into basic, harmless compounds, leaving

              indoor air smelling fresh and free of odor-causing

              volatile organic compounds (VOCs).” 26

         c. “The GPS-iMOD, which is UL 2998-listed for no ozone, helps

              control fine particles while destroying VOCs.” 27




         d.                                                                 28




24 Emphasis added throughout.
25 Global Plasma Solutions, Product Data Sheet: GPS-FC48-AC,
https://globalplasmasolutions.com/uploads/products/data-sheets/GPS-FC48-
AC_Data-Sheet.pdf (citing to the GPS-FC48-AC, but this representation is present
on every single Product’s Data Sheet).
26 Global Plasma Solutions, PROJECT SPOTLIGHT: Clean Room Applications,

https://globalplasmasolutions.com/articles/project-spotlight-clean-room-applications.
27 Global Plasma Solutions Sales Presentation, Better Air through Science,

September 1, 2020, https://www.sde.idaho.gov/communications/files/public-records-
requests/GPS-Presentation.pdf (slide 49).
28 Global Plasma Solutions Brochure, p. 3,

https://resource.carrierenterprise.com/is/content/Watscocom/iwave_gps-fc-3-
bas_article_1604089090642266_en_cc1.

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      57.   Defendant represents that its Products have no harmful

byproducts. 29

         a. “Are there byproducts?

            No. Passing through an ionization field causes compounds to

            break into one or more of four basic elements: oxygen,

            nitrogen, carbon dioxide or water vapor.” 30

         b. In a sales presentation from September 1, 2020: 31




29 Emphasis added throughout.
30 Global Plasma Solutions FAQ Page, https://globalplasmasolutions.com/faqs (last
visited May 6, 2021).
31 Global Plasma Solutions Sales Presentation, Better Air through Science,

September 1, 2020, https://www.sde.idaho.gov/communications/files/public-records-
requests/GPS-Presentation.pdf.
                                       20
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         c. “Safe solution: NPBI delivers clean indoor air without

            producing ozone or other harmful byproducts.” 32




32Global Plasma Solutions, To Bring Employees Back Safely, This Agency Turned to
Ionization Technology, https://globalplasmasolutions.com/articles/to-bring-
employees-back-to-work-safely-this-agency-turned-to-ionization-technology.

                                       21
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         d.                                                                   33



         e. “Since 2009, GPS has delivered clean indoor air solutions

              that are safe and healthy. Our technology delivers clean

              indoor air without producing ozone or other harmful

              byproducts.” 34

         f. “GPS’ technology generates the same ions as Mother Nature

              creates with lightning, waterfalls, and ocean waves. Mother

              Nature uses energy to break apart molecules. It is nature’s

              way of cleansing the air naturally and creating a healthy

              environment. The only difference is that GPS’ technology

              does it without forming ozone or other harmful

              byproducts.” 35




33 Global Plasma Solutions Sales Presentation, Better Air through Science,
September 1, 2020, https://www.sde.idaho.gov/communications/files/public-records-
requests/GPS-Presentation.pdf.
34 Global Plasma Solutions, Global Plasma Solutions® Appoints Edward Sobek as

Chief Science Officer, March 2, 2021,
https://globalplasmasolutions.com/articles/indoor-air-quality-solutions-leader-
global-plasma-solutions-appoints-edward-sobek-as-chief-science-officer.
35 Global Plasma Solutions Marketing Brochure,

http://www.icecenter.net/covid/bipolar-ionization.pdf.

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         g. “GPS NPBI technology is certified by UL 867 and UL 2998,

            meaning it delivers indoor air that’s free of ozone and other

            harmful byproducts. This sets it apart from other

            ionization technologies that are known to produce

            ozone, making them unsafe for occupied spaces.” 36

      58.   Defendant represents that its Products are safe to use. 37

         a. “For the immediate and post-pandemic new normal, GPS is

            uniquely positioned to address IAQ and pathogen control

            challenges by providing an effective, safe and

            dependable solution.” 38

         b. “GPS NPBI technology helps with all aspects of indoor air

            quality. In addition, unlike many other solutions on the

            market, it’s also safe for occupied spaces. This means




36 Global Plasma Solutions, Why Your Customers Should Care About Their Indoor
Air Quality, https://globalplasmasolutions.com/articles/why-your-customers-should-
care-about-their-indoor-air-quality.
37 Emphasis added throughout.
38 Global Plasma Solutions, The Future of Indoor Air Quality Is Now,

https://globalplasmasolutions.com/articles/the-future-of-indoor-air-quality-is-now.

                                        23
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            building occupants can get back to work, school and more in

            a safe manner.” 39

         c. “Safer, fresher indoor air” 40

         d. “Many are turning to Global Plasma Solutions’ NPBI

            technology as an affordable, safe, effective solution.” 41

         e. In a podcast interview, shared on the Global Plasma

            Solutions’ official Facebook page on June 15, 2020, Founder

            and CTO, Charlie Waddell has the following discussion:

                i. Question: “Okay. So, you said that it didn't produce

                   ozone. And so that's often a concern with bipolar

                   ionization. And so is there anything that this the NPI

                   technology could how it could adversely affect

                   components or occupants? Or is it completely safe?”




39 Global Plasma Solutions, 10 Facts About Needlepoint Bipolar Ionization,
https://globalplasmasolutions.com/articles/10-facts-about-needlepoint-bipolar-
ionization.
40 This representation appears throughout Defendant’s website. For example, it

appears on the “Transportation,” “Office Buildings,” and “Health Care” tabs under
“Markets Served.”
41 Global Plasma Solutions, PROJECT SPOTLIGHT The University of Maryland,

Baltimore, https://globalplasmasolutions.com/articles/project-spotlight-the-
university-of-maryland-baltimore.
                                        24
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                 Answer: “It is completely safe. And the reason why

                 we can make that claim is because we don't produce

                 the ozone as a byproduct. With the older systems and

                 other types of technologies that may compete against

                 NBPI. They are producing ozone as a byproduct, and a

                 lot of people like to go out and market it as ozone free

                 technology, or they'll claim they don't produce ozone.

                 But really, where the rubber meets the pavement is

                 actually being able to produce that test report from UL

                 that states per 2998 you don't produce ozone. So for

                 those people out there using these other technologies,

                 that ASHRAE has now come out and said in their

                 ASHRAE standards in Section 5.7.1, if you look that

                 up, it'll say all air purification technologies that require

                 power should have UL 2998 certification and that

                 confirms that, in fact, it is a safe technology. If we're

                 not creating the ozone, we're not going to be oxidizing

                 or breaking down any organics in the airstream. So it's

                 safe and effective. And actually, I just read a great


                                    25
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                 paper from the National Institutes of Health that

                 discussed on ionization and the positive impact that

                 actually has on health. So I was very pleased to see

                 that coming from the NIH.” 42

              ii. Later in that same interview at approximately 13:13

                 minute mark: “So that's safe in itself, and confirmed

                 by third party that it's safe.”

        f. “GPS patented NPBI® technology safely and effectively

           reduces airborne viruses and other pathogens while also

           making dust, pollen and other particles easier to capture in

           air filtration systems.” 43

        g. On the first page of a marketing document distributed to

           potential customers: 44




42 Global Plasma Solutions Official Facebook Page,
https://www.facebook.com/globalplasmasolutions/posts/190279179097329 at
approximately the 8:00 mark.
43 Global Plasma Solutions, Large Spaces,

https://globalplasmasolutions.com/applications/large-spaces.
44 Global Plasma Solutions, INDEPNDENT LABORATORY TEST RESULTS,

https://newhorizonacademy.net/wp-
content/uploads/2020/08/GPS_Pathogen_Testing_Summary_6.10.20.pdf.
                                     26
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         h. “GPS’ NPBI (needlepoint bipolar ionization) products are

            completely safe for humans and animals. With over

            250,000 installations and many testimonials, GPS products

            have not only proven to be safe, but they also make the air

            cleaner and safer. GPS technology produces what naturally

            occurs in nature, and since GPS’ technology has been

            certified by UL 2998 as ozone-free, there are no health

            concerns.” 45

         i. “Needlepoint bipolar ionization (NPBI®) technology is a safe

            and effective way to filter the virus out of the air.” 46

         j. “NPBI technology safely and effectively tackles airborne

            viruses and other pathogens while also making dust, pollen

            and other particles easier to capture in air filtration

            systems.” 47




45 Global Plasma Solutions FAQ Page, https://globalplasmasolutions.com/faqs (last
visited May 5, 2021).
46 Global Plasma Solutions, The American Rescue Plan Can Help Schools Reopen

Safely, https://globalplasmasolutions.com/articles/the-american-rescue-plan-can-
help-schools-reopen-safely-with-air-purification-technology.
47 Global Plasma Solutions, Project Spotlight: Amalie Arena,

https://globalplasmasolutions.com/articles/project-spotlight-amalie-arena.

                                        27
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      59.   Defendant represents that its Products produce cleaner air. 48

         a. “CLEANER AIR, NATURALLY” 49

         b. “Through our needlepoint bipolar ionization or NPBI®

            technology, we deliver clean indoor air — producing

            neither ozone nor other harmful byproducts.” 50

         c. “NPBI is a proactive approach to cleaner air.” 51

         d. “This instantly results in cleaner indoor air and a safer

            environment.” 52

         e. GPS products provide an affordable, effective and low-

            maintenance solution for cleaner air. 53

         f. “AN ENGINEERED SOLUTION FOR CLEANER, SAFER

            INDOOR AIR” 54




48 Emphasis added throughout.
49 Global Plasma Solutions, How It Works, https://globalplasmasolutions.com/how-
it-works (last visited May 5, 2021).
50 Id.
51 Global Plasma Solutions, The American Rescue Plan Can Help Schools Reopen

Safely, https://globalplasmasolutions.com/articles/the-american-rescue-plan-can-
help-schools-reopen-safely-with-air-purification-technology.
52 Id.
53 Id.
54 Global Plasma Solutions, Why Your Customers Should Care About Their Indoor

Air Quality, https://globalplasmasolutions.com/articles/why-your-customers-should-
care-about-their-indoor-air-quality.

                                        28
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         g. “The combined effect is air that is cleaner and safer to

             breathe.” 55

         h. In March 2021, Global Plasma Solutions appointed Edward

             Sobek as the company’s first Chief Science Officer. In the

             press release announcing his arrival, Mr. Sobek states: 56

                i. “What is most compelling about NPBI is its ability to

                   clean air and surfaces in the occupied space.”

               ii. “This technology can help create healthy

                   environments at home, at work, at school and

                   beyond. I welcome the opportunity to further GPS’ goal

                   of improving indoor air quality for all.” 57

         i. “GPS delivers clean indoor air without producing ozone

             or other harmful byproducts.” 58




55 Global Plasma Solutions, PROJECT SPOTLIGHT The Learning Experience,
https://globalplasmasolutions.com/articles/project-spotlight-the-learning-experience.
56 Global Plasma Solutions, Global Plasma Solutions® Appoints Edward Sobek as

Chief Science Officer, March 2, 2021,
https://globalplasmasolutions.com/articles/indoor-air-quality-solutions-leader-
global-plasma-solutions-appoints-edward-sobek-as-chief-science-officer (emphasis
added).
57 Id.
58 Global Plasma Solutions, Pathogen Reduction,

https://globalplasmasolutions.com/pathogen-reduction (last visited May 5, 2021).

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         j. “Our patented needlepoint bipolar ionization (NPBI®)

            technology is a proactive approach to cleaner air.” 59

      60.   Defendant represents that its Products can achieve toxin-

removal benchmarks. 60

         a. “Within 24 hours of installation, NPBI technology

            effectively neutralized odors from all sources entering

            these buildings.” 61

         b. For example, the following tables appear on both the

            Defendant’s “Independent Testing” and “Pathogen

            Reduction” pages:




                i.




59 Global Plasma Solutions, The Japanese Industrial Standard for Ion
Measurement, https://globalplasmasolutions.com/articles/the-japanese-industrial-
standard-for-ion-measurement.
60 Emphasis added throughout.
61 Global Plasma Solutions, Project Spotlight: Edmonton International Airport,

https://globalplasmasolutions.com/articles/project-spotlight-edmonton-international-
airport.
                                        30
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               ii.




              iii.

         c. “The air purification system was able to target and reduce

             pathogens and odors within just 24 hours of

             installation.” 62

         d. “The GPS-iMOD drastically reduced the exhaust fume

             odors within 24 hours and reduced the particles in the

             space by up to 85%.” 63




62 Global Plasma Solutions, PROJECT SPOTLIGHT: Clean Room Applications,
https://globalplasmasolutions.com/articles/project-spotlight-clean-room-applications.
63 Global Plasma Solutions, PROJECT SPOTLIGHT The University of Maryland,

Baltimore, https://globalplasmasolutions.com/uploads/customer-resources/Resource-
Library/Case-Studies/University-of-Maryland-Case-Study.pdf (emphasis in
original).

                                         31
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      61.   Defendant represents that its assertions about the Products

are based on “independent testing.” 64

         a. “This process is proven by independent laboratory

            testing to be both safe and effective.” 65

         b. In a presentation entitled “How to Make your HVAC System

            Pandemic Ready using Needlepoint Bipolar Ionization” by

            Charlie Waddell, Defendant’s Founder and CTO: 66




         c. On its website, under the “Independent Testing” page: 67




               i.




64 Emphasis added throughout.
65 Global Plasma Solutions, Pathogen Reduction,
https://globalplasmasolutions.com/pathogen-reduction (last visited May 5, 2021).
66 Global Plasma Solutions Presentation (conducted by Charlie Waddell), How to

Make your HVAC System Pandemic Ready using Needlepoint Bipolar Ionization,
https://www.total-mechanical.com/wp-content/uploads/2020/09/How-to-Make-Your-
HVAC-Pandemic-Ready.pdf.
67 Global Plasma Solutions, Independent Testing,

https://globalplasmasolutions.com/independent-testing (last visited May 5, 2021).
                                        32
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               ii.



      62.   Defendant’s representations concerning the COVID-19

pandemic. 68

         a. “While the COVID-19 pandemic has inspired virtually

            every industry to take steps toward ensuring cleaner, safer

            indoor air, Global Plasma Solutions (GPS) began tackling air

            purification long before the coronavirus emerged.” 69

         b. “COVID-19 is top of mind, of course, including the

            different mutations of the virus we’re seeing come into the




68Emphasis added throughout.
69Global Plasma Solutions, Project Spotlight: Edmonton International Airport,
https://globalplasmasolutions.com/articles/project-spotlight-edmonton-international-
airport.

                                        33
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             United States,” Waddell said. “NPBI creates additional

             peace of mind during this evolving pandemic.” 70

         c. “This pandemic may be the first most of us have seen,

             but it won’t be the last, and we need to be prepared.

             That’s why GPS is committed to science and ongoing

             research to ensure we have the safest, most effective

             technology on the market.” 71

         d. “Pathogens such as SARS-CoV2, the new strain of

             coronavirus that causes COVID-19, can reside on

             surfaces and be suspended in the air we breathe. NPBI

             technology is designed to mitigate these harmful

             pathogens by safely creating and releasing ions via a

             building’s existing HVAC system.” 72

         e. “In the case of SARS-CoV2 and other pathogens, contact

             with positive and negative ions has microbicidal effects,




70 Global Plasma Solutions, The Future of Indoor Air Quality Is Now,
https://globalplasmasolutions.com/articles/the-future-of-indoor-air-quality-is-now.
71 Id.
72 Global Plasma Solutions, Why Better Indoor Air Quality May Be the Key to Safer

Indoor Events, https://globalplasmasolutions.com/articles/why-better-indoor-air-
quality-may-be-the-key-to-safer-indoor-events.

                                         34
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              ultimately disrupting their surface proteins and rendering

              them inactive. Independent laboratory studies have shown

              that NPBI technology limits the spread of viruses

              such as SARS-CoV2, MRSA and E. coli.” 73

         f. “In addition, when ions come into contact with pathogens,

              such as the SARS-CoV-2 virus that causes COVID-19,

              they disrupt the pathogens’ surface proteins. This, in turn,

              renders them inactive.” 74




         g.                                                                 75



         h. “Imagine an individual with COVID-19 walks into a room in

              your office building. With the smallest of actions – like a

              cough or a sneeze – harmful pathogens have been released

              into the air. From that moment forward, anyone who walks

              into the room is exposed to the virus. These scenarios



73 Id.
74 Id.
75 Archived version of Defendant’s website from October 24, 2020,

https://web.archive.org/web/20201024175828/https://globalplasmasolutions.com/pat
hogen-reduction.

                                       35
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             happen countless times each day, and historically there have

             not been solutions to address the problem. That’s where

             NPBITM comes in.” Charlie Waddell, GPS Founder and

             CTO. 76

         i. “Though a proven tool in the fight against COVID-19,

             NPBI is just one critical measure in a comprehensive

             approach to improving IAQ and providing cleaner, safer

             indoor air.” 77

         j. “…announced today industry-leading ionization testing

             results, demonstrating a 99.4% reduction rate on a SARS-

             CoV-2 (COVID-19) surface strain within 30 minutes, the

             first instance in which an air purification company

             has effectively neutralized SARS-CoV-2.” 78




76 Charlie Waddell, The Future of IAQ Lies in Needlepoint Bipolar Ionization, HVAC
INSIDER & REFRIGERATION (July 7, 2020), https://hvacinsider.com/the-future-of-iaq-
lies-in-needlepoint-bipolar-ionization/.
77 Global Plasma Solutions, Why Your Customers Should Care About Their Indoor

Air Quality, https://globalplasmasolutions.com/articles/why-your-customers-should-
care-about-their-indoor-air-quality.
78 Global Plasma Solutions, GPS Virtually Eliminates Static SARS-CoV-2 with

Proprietary NPBI Technology, June 10, 2020,
https://globalplasmasolutions.com/articles/gps-virtually-eliminates-static-sars-cov-2-
with-proprietary-npbi-technology.
                                         36
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        k.

     63.     Global Plasma Solutions’ representations were largely

repeated uncritically by news outlets, publications, press releases, social

media, and other forms of media.

     64.     Global Plasma Solutions’ representations were used in the

marketing efforts of its sellers, distributors, and other agents.

     65.     But these representations failed to hold up when they were

examined by independent academic studies and industry watchdogs.

  D. Global Plasma Solutions’ Representations Are False,
     Deceptive, and Misleading

     a. Global Plasma Solutions’ Representations to Consumers
        that Its Products Are Superior to Other Air Treatment
        Systems Are False, Deceptive, and Misleading.

     66.     As outlined above, Defendant represents NBPI as the safest,

most effective technology on the market.

     67.     These statements are not mere puffery because Defendant

presents direct comparisons to other technologies throughout its

uniform, wide scale marketing campaign.
                                    37
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      68.   For example, the following table is used multiple times in

Defendant’s marketing literature:




      69.   These statements are made by the Defendant in order to

siphon sales from the competitors that use other technologies to clean

the air.

      70.   If the statements were true and accurately represented, then

Defendant’s “superior technology” representations might be within the

bounds of the law.

      71.   However, many of Defendant’s representations are false,

misleading, and deceptive.

      72.   For example, Defendant represents to consumers that NPBI

does not produce harmful byproducts.



                                    38
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      73.    As outlined below, this statement is not true and is included

in order to lure consumers that may be interested in competing

technologies like HEPA filters and carbon filters which do not produce

harmful byproducts. 79

      74.    When NPBI is compared to other technologies, “[existing]

proven measures that should be taken to address airborne transmission

risk include properly sized and maintained ventilation (mechanical and

natural), mechanical filtration (including portable HEPA filter units),

and germicidal ultraviolet light systems. Such measures are practical

and often can be easily implemented; many are not costly.…” 80

      75.    As described in greater detail below, many of these

comparisons are false, misleading, and deceptive, and solely created to

induce sales of Defendant’s Products.




79 Professor Glenn Morrison from the University of North Carolina Chapel Hill
notes that "[a] cheap portable HEPA filter would work many times better and have
fewer side effects (possibly ozone or other unwanted chemistry)." Lauren Weber
and Christina Jewett, As Schools Spend Millions on Air Purifiers, Experts Warn of
Overblown Claims and Harm to Children, KAISER HEALTH NETWORK (May 3, 2021),
https://khn.org/news/article/as-schools-spend-millions-on-air-purifiers-experts-warn-
of-overblown-claims-and-harm-to-children/.
80 Drs. Marwa Zaatari and Marcel Harmon, Open Letter to address the use of

Electronic Air Cleaning Equipment in Buildings, April 12, 2021,
https://medium.com/open-letter-to-address-the-use-of-electronic-air/no-to-ionizers-
plasma-uvpco-bc1570b2fb9b (this letter is supported by 11 other doctors).
                                         39
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      b. Global Plasma Solutions’ Representations to Consumers
         that Its Products Will Safely Clean the Air and Eliminate
         VOCs with No Harmful Byproducts Are False, Deceptive,
         and Misleading.

      76.   In February 2021, professors at three major universities

released an academic article that was selected for publication in the

academic journal Building and Environment. 81

      77.   The article examined the effectiveness of bipolar ionization

technology. Specifically, Defendant’s GPS-FC48-AC device was tested

by the scientists.

      78.   The article concluded that "[t]he device in our testing was

ineffective in addressing the air pollutants that it's advertised to

remove from the space." 82

      79.   After conducting its detailed experiments, the panel of

scientists concluded that Defendant’s GPS-FC48-AC device introduces

harmful volatile organic compounds into the air.


81 Yicheng Zeng, Prashik Manwatkar, Aurélie Laguerre, Marina Beke, Insung
Kang, Akram S. Ali, Delphine K. Farmer, Elliott T. Gall, Mohammad Heidarinejad,
Brent Stephens, Evaluating A Commercially Available In-Duct Bipolar Ionization
Device For Pollutant Removal And Potential Byproduct Formation, BUILDING AND
ENVIRONMENT, Volume 195, 2021, 107750, ISSN 0360-1323,
https://doi.org/10.1016/j.buildenv.2021.107750.
82 Keely Chalmers, Researchers Warn Against Some Electronic Air Purifiers, KGW8

(April 15, 2021), https://www.kgw.com/article/news/health/researchers-warn-
against-some-electronic-air-purifiers/283-1da342a6-75ca-4ca3-aa82-c4e4717fc491.

                                      40
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      80.   The article notes: 83

            Both the chamber and field tests suggested that the use
            of the tested bipolar ionization unit led to a decrease in
            some hydrocarbons (e.g., xylenes) among the lists of
            compounds we were able to analyze, but an increase in
            others, most prominently oxygenated VOCs (e.g.,
            acetone, ethanol) and toluene.

      81.   In other words, Defendant’s GPS-FC48-AC device does not

clean the air and produce a healthy environment. Rather, it trades one

group of harmful chemicals for another group of harmful chemicals.

      82.   The study showed the following increases in Acetone,

Ethanol, Toluene, and Butyraldehyde. 84

      83.   Acetone is a toxic substance.

         a. According to the CDC, inhalation of Acetone can cause the

            following ailments: 85

                i. nose, throat, lung, and eye irritation;

               ii. headaches;

              iii. light-headedness;


83 Zeng, Manwatkar, et. al., supra note 76.
84 Other toxic substances may be produced by Defendant’s Products. Plaintiff’s
investigation is ongoing and will seek to amend the Complaint to specify other
potential toxic substance produced by these Products in the future.
85 Center For Disease Control and Prevention, Acetone: ATSDR Fact Sheet,

September 1, 1995,
https://wonder.cdc.gov/wonder/prevguid/p0000467/p0000467.asp.
                                        41
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              iv. confusion;

              v. increased pulse rate;

              vi. effects on blood;

             vii. nausea;

            viii. vomiting;

              ix. unconsciousness and possibly coma; and

              x. shortening of the menstrual cycle in women.

         b. Additional evidence shows that “Acetone may damage the

            male reproductive system (including decreasing the sperm

            count) and affect female fertility in animals.” 86

         c. Acetone is toxic to the central nervous system. 87

         d. Acetone is toxic to the kidneys, the liver, the skin, and the

            reproductive system. 88




86 New Jersey Department of Health, Hazardous Substance Fact Sheet: Acetone,
June 2015, https://www.nj.gov/health/eoh/rtkweb/documents/fs/0006.pdf.
87 ScienceLab.com, Material Safety Data Sheet Acetone MSDS, November 6, 2008,

https://www.conncoll.edu/media/website-
media/offices/ehs/envhealthdocs/acetone.pdf.
88 New Jersey Department of Health, Hazardous Substance Fact Sheet: Acetone,

June 2015, https://www.nj.gov/health/eoh/rtkweb/documents/fs/0006.pdf.
88 ScienceLab.com, Material Safety Data Sheet Acetone MSDS, November 6, 2008,

https://www.conncoll.edu/media/website-
media/offices/ehs/envhealthdocs/acetone.pdf.

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         e. Long-term exposure to Acetone can produce damage to these

            targeted organs and systems. 89

      84.   Ethanol is a toxic substance.

         a. Inhalation of ethanol can irritate the nose, throat and lungs

            causing coughing and shortness of breath. 90

         b. Studies show that chronic intermittent ethanol vapor

            exposure produces widespread significant tissue injury

            including hepatic, pulmonary, and cardiovascular changes in

            mammals. 91

         c. Over 50 years ago, researchers at Stanford University

            confirmed that inhalation of ethanol over a period of a few

            days by mammals is toxic. In fact, the absorption of the

            alcohol was so strong, that every single animal in the study




89 New Jersey Department of Health, Hazardous Substance Fact Sheet: Acetone,
June 2015, https://www.nj.gov/health/eoh/rtkweb/documents/fs/0006.pdf.
89 Id.
90 New Jersey Department of Health, Hazardous Substance Fact Sheet: Ethyl

Alcohol, March 2016, https://www.nj.gov/health/eoh/rtkweb/documents/fs/0844.pdf.
91 Mouton AJ, Maxi JK, Souza-Smith F, Bagby GJ, Gilpin NW, Molina PE, Gardner

JD (2016) Alcohol Vapor Inhalation As A Model Of Alcohol-Induced Organ Disease.
ALCOHOL CLIN EXP RES 40:1671–1678.

                                       43
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            developed signs of alcohol withdrawal upon removal from the

            environment containing ethanol vapors. 92

      85.   Toluene is a toxic substance and part of the “toxic trio.” 93

         a. According to the CDC, inhalation of Toluene can cause the

            following ailments: 94

               i. headaches,

               ii. dizziness, and numbness;

              iii. irritated eyes, nose, throat, and lungs;

              iv. damage to liver and kidneys; and

               v. harm to unborn children during pregnancy.

         b. The CDC further warns that long-term inhalation of Toluene

            “can cause permanent damage to the brain, muscles, heart,

            and kidneys.” 95

      86.   Butyraldehyde is a toxic substance.



92 Dora Goldstein and Nandita Pal, Alcohol Dependence Produced in Mice by
Inhalation of Ethanol: Grading the Withdrawal Reaction, SCIENCE (April 16, 1971),
https://science.sciencemag.org/content/172/3980/288.
93 Occupational Safety and Health Administration, Health Hazards in Nail Salons,

https://www.osha.gov/nail-salons/chemical-hazards.
94 Agency for Toxic Substances and Disease Registry, Medical Management

Guidelines for Toluene, October 21, 2014,
https://wwwn.cdc.gov/TSP/MMG/MMGDetails.aspx?mmgid=157&toxid=29.
95 Id.



                                       44
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         a. Inhalation of Butyraldehyde can irritate the lungs causing

            coughing and shortness of breath. 96

         b. Higher exposures can cause a pulmonary edema. 97

      87.   In other words, use of Defendant’s Products creates a “pick

your poison” proposition for consumers.

      c. Global Plasma Solutions’ Representations to Consumers
         that Its Products’ Claims Are Supported By Sound,
         Independent Testing and Can Achieve Quantified Toxin-
         Removal Benchmarks Are False, Deceptive, and
         Misleading.

      88.   The Products not only produce harmful VOCs but also they

fail to clean the air at the rates as claimed by its “independent testing.”

      89.   For example, in an attempt to improve cleanliness and

efficiency, Boeing conducted a technical assessment of air ionization

technologies. 98

      90.   One of the tested technologies was NPBI.




96 New Jersey Department of Health and Senior Services, Hazardous Substance
Fact Sheet: Butyraldehyde, July 2002,
https://nj.gov/health/eoh/rtkweb/documents/fs/0299.pdf.
97 Id.
98 Boeing, Use of Bipolar Ionization for Disinfection within Airplanes,

https://www.boeing.com/confident-travel/research/use-of-bipolar-ionization-for-
disinfection-within-airplanes.html (2021).

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       91.    The test results in the Huntsville location found “minimal

reductions in viral inactivation.” 99

       92.    The test also found only “minimal reductions in surface

bacteria viability by bipolar ionization.” 100

       93.    Further, the Huntsville test found “no reductions in

Staphylococcus aureus, Pseudomonas aeruginosa, Enterococcus faecalis,

and Enterobacter cloacae with <20.6% or <0.1 log10 reduction over a 60

minute exposure duration.” 101

       94.    The “New 787-10 Ground Testing” found the reductions in

Escherichia coli and MS2 Bacteriophage to be far lower than needed for

cabin disinfection. 102

       95.    At the end of the assessment, Boeing found: 103

       The use of air ionization in an airplane remains inconclusive
       as a methodology for deployment during the SARS-CoV-2
       virus pandemic. Boeing’s limited testing was unable to
       replicate supplier results in terms of antimicrobial
       effectiveness. The systems were unable to properly deliver
       and maintain the necessary ion levels in the airplane to
       achieve disinfection. Similarly, laboratory-based tests did not
       show proper rates of disinfection with higher ion
       concentrations. It is pertinent to be able to demonstrate

99 Id. at 16.
100 Id.
101 Id.
102 Id. at 20-21.
103 Id. at 22.


                                        46
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      effective performance in an airplane environment given
      aircraft installation constraints.

      96.   In summary, “Boeing’s current position is that air ionization

has not shown significant disinfection effectiveness for further inclusion

in the Confident Travel Initiative Program.” 104

      97.   Boeing’s results and conclusions stand in stark contrast to

Defendant’s statements concerning NPBI’s effectiveness in an airplane

environment: 105

      In the laboratory, a test was conducted to mimic ionization
      conditions like that of a commercial aircraft's fuselage. Based
      on viral titrations, it was determined that at 10 minutes,
      84.2% of the virus was inactivated. At 15 minutes, 92.6% of
      the virus was inactivated, and at 30 minutes, 99.4% of the
      virus was inactivated.

      98.   When Trane Technologies tested NPBI, while it found some

efficacy for some in-air pathogens, it found no efficacy for surface

pathogens and VOCs. 106



104 Id.
105 Global Plasma Solutions (GPS) Launches Needlepoint Bipolar Ionization To
Virtually Eliminate Static SARS-CoV-2 with Proprietary NPBI™ Technology, PR
NEWSWIRE (September 15, 2020), https://www.prnewswire.com/in/news-
releases/global-plasma-solutions-gps-launches-needlepoint-bipolar-ionization-to-
virtually-eliminate-static-sars-cov-2-with-proprietary-npbi-tm-technology-
860417185.html.
106 Trane Technologies, A Taxonomy of Air-Cleaning Technologies Featuring Bipolar

Ionization, January 27, 2021,

                                       47
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      99.      Focusing on VOCs, Trane found “[t]he inability of the

needlepoint bipolar ionization device to reduce VOCs (formaldehyde,

toluene) has serious ramifications… if the technology cannot reduce

VOCs, it cannot supplant outdoor air ventilation, so it cannot conserve

energy.” 107

      d. Global Plasma Solutions’ Representations to Consumers
         that Its Products Are Effective Against COVID-19 Are
         False, Deceptive, and Misleading.

      100. From the early days of COVID-19, Global Plasma Solutions

viewed the pandemic as a potential windfall for its technology and

Products.

      101. Two days before the World Health Organization increased

the status of COVID-19 from an epidemic to a pandemic, 108 Global

Plasma Solutions issued a press release in an attempt to capture the

new burgeoning market. 109




https://www.jp.trane.com/content/dam/Trane/Commercial/global/about-
us/wellsphere/Technology%20Whitepaper%20-%20Bipolar%20Ionization.pdf at 8.
107 Id. at 7.
108 Kathy Katella, Our Pandemic Year—A COVID-19 Timeline, YALE MEDICINE

(March 9, 2021), https://www.yalemedicine.org/news/covid-timeline.
109 Global Plasma Solutions, Indoor Air Quality Technology Company Responds to

Coronavirus, March 9, 2020, https://globalplasmasolutions.com/articles/indoor-air-
quality-technology-company-responds-to-coronavirus.

                                        48
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       102. The press release – entitled “Indoor Air Quality Technology

Company Responds to Coronavirus” – was a flag-planting moment for

Global Plasma Solutions. From the point onward, the company’s focus

shifted and became “all about pathogens and coronavirus and Covid-

19.” 110

       103. On June 10, 2020, a date where COVID-19 killed 860

Americans, Defendant published a press release entitled “GPS Virtually

Eliminates Static SARS-CoV-2 with Proprietary NPBI Technology.” 111

       104. In this press release, Defendant “announced today industry-

leading ionization testing results, demonstrating a 99.4% reduction rate

on a SARS-CoV-2 (COVID-19) surface strain within 30 minutes, the

first instance in which an air purification company has effectively

neutralized SARS-CoV-2.” 112




110 Quoting CEO Glenn Brinckman. Ashley Fahey, Add Air Quality to The Growing
List of Items Landlords Should Consider Before Workers Return to The Office,
CHARLOTTE BUSINESS JOURNAL (May 6, 2020),
https://www.bizjournals.com/charlotte/news/2020/05/06/add-air-quality-to-the-
growing-list-of-items.html?iana=hpmvp_clt_news_headline.
111 Global Plasma Solutions, GPS Virtually Eliminates Static SARS-CoV-2 with

Proprietary NPBI Technology, June 10, 2020,
https://globalplasmasolutions.com/articles/gps-virtually-eliminates-static-sars-cov-2-
with-proprietary-npbi-technology.
112 Id.


                                         49
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       105. In that same release, Global Plasma Solutions’ founder and

CTO declared, “The testing results we achieved through our proprietary

needlepoint bipolar ionization technology clearly demonstrate that

Global Plasma Solutions is the gold standard in air purification.”

       106. Building from the themes in its press releases, Defendant

describes its Products as “proven tool[s] in the fight against COVID-

19.” 113

       107. This “proof” comes from “[i]ndependent laboratory studies

[that] have shown that NPBI technology limits the spread of viruses

such as SARS-CoV2.” 114

       108. These results are summarized into a simple table:




       109. The results and Defendant’s statements are interpreted in a

similar fashion by consumers and the general public.



113Id.
114Global Plasma Solutions, Why Better Indoor Air Quality May Be the Key to Safer
Indoor Events, https://globalplasmasolutions.com/articles/why-better-indoor-air-
quality-may-be-the-key-to-safer-indoor-events.
                                       50
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         a.

         b. “We’ve done our homework on this. It’s the only company

              that we found that claimed that they could kill the COVID-

              19 virus.” 115



         c.                                                         116




115Dana Winter, Faith Academy Gets New Technology Killing COVID-19 In The Air,
WKRG (July 22, 2020), https://www.wkrg.com/local-news/faith-academy-gets-new-
technology-killing-covid-19-in-the-air/.
116Rob Thomas, Charlotte City Club Installs Ion System that Claims to Kill COVID-

19, CLUB AND RESORT BUSINESS (July 14, 2020),
https://clubandresortbusiness.com/charlotte-city-club-installs-ion-system-that-
claims-to-kill-covid-19/.
                                       51
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         d. “The Indiana Welcome Center is installing a state-of-the-art

            bipolar ionization system to kill COVID-19…Third-party

            testing has shown the system kills 99.47% of SARS-CoV-2,

            the disease that causes COVID-19, within 30 minutes,

            Project Manager Doug Lavin said. "It's like having Purell

            and hand sanitizer in the air," he said. "It starts killing

            viruses in the air and on surfaces immediately. It has a 75%

            kill rate within five minutes, an 85% kill rate within 10

            minutes, and a 92% kill rate within 15 minutes. Within half

            an hour, the kill rate is 99.47%.” 117

         e. “In September, Abiding Savior Lutheran Church and School

            will have an air purification system installed to assist in

            mitigating Covid-19 and other viruses, allergens and

            bacteria. “The installation of this air purification system will

            help keep our air healthier and surfaces cleaner in an

            environmentally friendly way. Not only has testing proven



117Joseph S. Pete, Indiana Welcome Center Installs Bipolar Ionization System To
Kill COVID-19, NORTHWEST INDIANA TIMES (July 23, 2020),
https://www.nwitimes.com/business/local/indiana-welcome-center-installs-bipolar-
ionization-system-to-kill-covid-19/article_f88835a1-2d72-56a6-acff-
f6653178cb54.html.
                                        52
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            remarkable results in the killing of SARS-Cov-2, but it will

            also help our students who struggle with seasonal allergies,”

            said Brian Ryherd, Principal of Abiding Savior Lutheran

            School. Global Plasma Solutions is the first air purification

            solution to test SARS-CoV-2, achieving a 99.4% reduction of

            the surface strain within 30 minutes. See detailed

            information below [reproduces Defendant’s June 10, 2020

            Press Release].” 118

      110. Global Plasma Solutions’ representations concerning

COVID-19 were largely repeated uncritically by news outlets,

publications, press releases, social media, and other forms of media.

      111. But these representations failed to hold up when scrutinized

by the nation’s top engineering and environmental experts.

      112. “The consistent message from experts is to avoid being too

creative with airborne solutions. Stay away from worthless — or even

dangerous — add-ons to filtration like bipolar ionization.…” 119



118 Abiding Savior Lutheran School, Keeping Our Students Healthy, July 24, 2020,
https://www.aslsonline.org/news/2020/7/24/keeping-our-students-healthy.
119 Drs. Alex Huffman, Delphine Farmer, and Marina Vance, Opinion: We Need

Safer Air In Colorado’s Schools — But Let’s Be Careful How We Get There, THE

                                       53
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      113. Needlepoint bipolar ionization is “an emerging technology”

with “little research [ ] available that evaluates it outside of lab

conditions.” 120 Further, “as typical of newer technologies, the evidence

for safety and effectiveness is less documented than for more

established ones.…”

      114. With minimal evidence to support the technology, any

representation that it is effective against COVID-19 must be based with

solid science and consistent with real world application.

      115. However, the scientific community has concluded that this

technology – and the testing methods used by Defendant – lack the

foundation to support these lofty representations.

      116. For example, Dr. F. James Lo, an assistant professor of

engineering at Drexel University states that ionization technology will

“clean the air only when it [passes] through the purifier, which means it




COLORADO SUN (April 23, 2021), https://coloradosun.com/2021/04/23/safer-air-
schools-opinion/.
120 United States Environmental Protection Agency, Air Cleaners, HVAC Filters,

and Coronavirus (COVID-19), March 22, 2021, https://www.epa.gov/coronavirus/air-
cleaners-hvac-filters-and-coronavirus-covid-19.

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helps very little in terms of person-to-person localized virus

transmission.” 121

      117. Similarly, an engineering professor from the University of

North Carolina Chapel Hill believes that "[a] cheap portable HEPA

filter would work many times better and have fewer side effects

(possibly ozone or other unwanted chemistry)." 122

      118. Defendant’s use of company-funded, specialized studies are

not independent as represented by Global Plasma Solutions.

      119. Further, the studies are designed to support Defendant’s

deceptive, misleading, and false lofty representations and are not

applicable to real world conditions.

      120. In other words, in a real world application, ionization is not

effective against COVID-19 transmission.




121 Jason Abbruzzese, Denise Chow and Vaughn Hillyard, Can Air Filtration Stop
Coronavirus At A Trump Rally In Phoenix? Experts Doubt It., NBC NEWS (June 22,
2020), https://www.nbcnews.com/tech/tech-news/trump-rally-phoenix-boasts-
coronavirus-protections-experts-are-skeptical-n1231910.
122 Lauren Weber and Christina Jewett, As Schools Spend Millions on Air Purifiers,

Experts Warn of Overblown Claims and Harm to Children, KAISER HEALTH
NETWORK (May 3, 2021), https://khn.org/news/article/as-schools-spend-millions-on-
air-purifiers-experts-warn-of-overblown-claims-and-harm-to-children/.
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      121. Defendant’s representations are not only false and

misleading but also the Defendant misrepresents the validity of its

testing that builds the foundations for its representations.

      122. Dr. Monica Mazurek, a professor in civil and environmental

engineering at Rutgers University, describes the Defendant’s COVID-19

representations as “unvalidated” and the tests presented by Defendant

are under unmonitored conditions. 123

      123. Further, she outlines her specific concerns, “Where is the

data? Where are the facts? Where are the monitoring data?” 124

      124. Simply, the Products “do not prevent exposure and

transmission of COVID-19.” 125

      125. Dr. Sarah F. Evans, an Assistant Professor in the

Department of Environmental Medicine and Public Health and a

member of the Institute for Exposomic Research at the Icahn School of




123 Talia Wiener, Parents Tell Montclair District: We’re Worried New Air Cleaners
Aren’t’ Safe, MONTCLAIR LOCAL (April 22, 2001),
https://www.montclairlocal.news/2021/04/22/parents-tell-montclair-district-were-
worried-new-air-cleaners-arent-safe/.
124 Id.
125 Id.



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Medicine at Mount Sinai, also has concerns about Defendant’s COVID-

19 representations. 126

      126. After review, Dr. Evans and her “team of pediatricians,

scientists, occupational medicine doctors and industrial hygienists have

concerns about the safety and efficacy of emerging air cleaning,” and

ultimately recommended against Defendant’s Products being used in

schools. 127

      127. The National Air Filtration Association website states,

“There is no direct scientific evidence of benefit, but some reduced

exposure can reasonably be inferred based on the ability of some filters

to remove particles that contain a SARS-CoV-2 virus." 128

      128. However, mere inferences are insufficient to support the

prominent representations made by Defendant.

      129. Dr. William Bahnfleth, a professor of architectural

engineering at Pennsylvania State University also doubts the

soundness of the testing methods implemented. He believes that



126 Id.
127 Id.
128 National Air Filtration Association, COVID-19 (Corona Virus) and Air Filtration

Frequently Asked Questions (FAQs), https://www.nafahq.org/covid-19-corona-virus-
and-air-filtration-frequently-asked-questions-faqs/.
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“[m]uch of the proof of their performance is in the form of laboratory

studies commissioned by manufacturers that are often performed under

conditions that are not representative of actual application

conditions.” 129

      130. In response to these commissioned studies, Dr. Bahnfleth

wrote, “Many in the scientific community are skeptical.” 130

      131. Dr. Amesh Adalja, a senior scholar at the Johns Hopkins

University Center for Health Security, warns that untested

representations that air treatment systems can stop the spread of

COVID will give people “a false sense of security.” 131

      132. When additional details about Defendant’s testing methods

were revealed, this “false sense of security” generated significant public

concern.




129 Ross Pomeroy, Schools Are Spending Millions on Ionization Technology to Fight
COVID and There’s No Good Evidence It Works, MASS LIVE (January 22, 2021),
https://www.masslive.com/coronavirus/2021/01/schools-are-spending-millions-on-
ionization-technology-to-fight-covid-and-theres-no-good-evidence-it-works.html.
130 Jason Abbruzzese, Denise Chow and Vaughn Hillyard, Can Air Filtration Stop

Coronavirus At A Trump Rally In Phoenix? Experts Doubt It., NBC NEWS (June 22,
2020), https://www.nbcnews.com/tech/tech-news/trump-rally-phoenix-boasts-
coronavirus-protections-experts-are-skeptical-n1231910.
131 Id.



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      133. One review of Defendant’s testing methods and

representations was summarized: 132

      Last summer, Global Plasma Solutions wanted to test
      whether the company's air-purifying devices could kill Covid-
      19 virus particles, but could find only a lab using a
      chamber the size of a shoebox for its trials. In the
      company-funded study, the virus was blasted with 27,000 ions
      per cubic centimeter. The company said it found a 99%
      reduction of virus. The report doesn't say how this
      reduction was measured, and in September, the company's
      founder incidentally mentioned that the devices being
      offered for sale would actually deliver a lot less ion
      power -- 13 times less -- into a full-sized room.

      134. Further, one testing flaw was described as “[Global Plasma

Solutions] nonetheless used the shoebox results in marketing its device

heavily to schools as something that could combat Covid in classrooms

far, far larger than a shoebox.” 133

      135. Glenn Morrison, an engineering professor at the University

of North Carolina Chapel Hill, believes that the Products’ COVID-19




132 Lauren Weber and Christina Jewett, As Schools Spend Millions on Air Purifiers,
Experts Warn of Overblown Claims and Harm to Children, KAISER HEALTH
NETWORK (May 3, 2021), https://khn.org/news/article/as-schools-spend-millions-on-
air-purifiers-experts-warn-of-overblown-claims-and-harm-to-children/(emphasis
added).
133 Id.



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reductions would not be very effective under normal building

conditions, outside a test chamber. 134

      136. Defendant’s funding of its own studies not only flies in

opposition to Defendant’s testing representations but also presents a

clear conflict.

      137. Relying on company-funded studies, as one concerned parent

stated, "is like only listening to advice from Philip Morris as to whether

smoking is safe or not." 135

      138. When Defendant’s Products are tested in real world

conditions, they fail to meet their marketed “independent testing”

results.

      139. When Boeing tested the technology – under real world

conditions – to see if it could be successfully implemented in its aircraft,

it found: 136




134 Id.
135 Id.
136 Boeing, Use of Bipolar Ionization for Disinfection within Airplanes,

https://www.boeing.com/confident-travel/research/use-of-bipolar-ionization-for-
disinfection-within-airplanes.html (2021).
                                         60
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        a. “Use   of   air   ionization   in   an   airplane   remains

           inconclusive as a methodology for deployment

           during the SARS-CoV-2 virus pandemic.”

        b. “Testing was unable to replicate supplier results in

           terms of antimicrobial effectiveness.”

        c. “The systems were unable to properly deliver and

           maintain the necessary ion levels in the airplane to

           achieve disinfection.”

        d. “Similarly, laboratory-based tests did not show

           proper rates of disinfection with higher ion

           concentrations.”


  E. Plaintiff and Class Members Relied on Global Plasma
     Solutions’ False Representations

     140. Defendant’s misrepresentations and false statements were

woven into an extensive and long-term advertising campaign conducted

during the statutory period and accelerating during the COVID-19

pandemic. Defendant spent millions of dollars to spread the

misrepresentations and material omissions about the Products through




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its own website, social media, YouTube, interviews with traditional

media, and other mediums.

      141. Defendant and its founders, executives, and employees

authored these false and misleading representations and propagated

them through various outlets, including through third party

publications who repeated the claims without question. Defendant’s

intent was to generate substantial publicity in light of the COVID-19

pandemic that would attract customers and construct a veneer of

credibility around their falsehoods. They largely succeeded.

      142. When questions about NPBI’s efficacy were published,

Defendant responded by filing lawsuits. 137

      143. These misleading advertisements and representations were

viewed by millions of people and drove sales of the Products throughout

the country. The misleading representations grew like a virus because

many purchasers were struggling small businesses which “boasted”




137See Global Plasma Solutions, Inc. v. IEE Indoor Environmental Engineering,
3:21-cv-02884-TSH (N.D. Ca. 2021); Global Plasma Solutions, Inc. v. D Zine
Partners, LLC and Marwa Zaatari, 3:21-cv-00884-D (N.D. Tx. 2021); Global
Plasma Solutions, Inc. v. IEE Indoor Environmental Engineering, 1:21-cv-01059-
MHC (N.D. Ga. 2021).
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about COVID-19-fighting investments in order to make customers feel

safe.

        144. Facebook and other social media provided a common forum

for the distribution of these “COVID safety announcement” posts which

largely re-broadcast Defendant’s representations:




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     145. Moreover, many of Defendant’s images and diagrams are

reproduced in these posts:




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     146. Plaintiff was familiar with Defendant’s representations

regarding the superiority of its NPBI technology over other technologies

for creating a clean air environment without harmful byproducts and

the effective destruction of COVID-19. This was a critical selling point

for Plaintiff, as Plaintiff hoped to purchase the most effective air

treatment system available. And this was core theme in Defendant’s

advertising.

     147. Defendant’s marketing focusing on the superiority of its

technology even led to organizations and businesses creating

fundraisers to purchase Defendant’s Products. For example:




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     148. Plaintiff also believed, based on his familiarity with

Defendant’s claims, that the Products would eliminate VOCs. This

claim is also false or, at the very least, made recklessly and without

substantiation. Rather than eliminating VOCs, Defendant’s Products

reduce some VOCs while also creating additional harmful VOCs.

     149. The Class Members also relied on various other

misrepresentations and material omissions made by Defendant in

purchasing the Products. Many Class Members were impressed by

Defendant’s claims that the Products are capable of achieving

quantified benchmarks (for example, that its technology can reduce

COVID-19 by 98.33% within 60 minutes), which were typically

communicated in text, tables, and graphs. But these claims are

misleading as they are the results of controlled test conditions and have

little relevance to the capabilities of the Products when operating in the

real world.

     150. Defendant’s claims were bolstered by Defendant’s assertion

it was communicating the results of “independent testing,” and many

Class Members found this compelling. But it is now clear that these




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tests were anything but independent tests as they were critically flawed

and funded by Defendant.

      151. Additionally, this is confirmed by the independent testing

conducted by professors at the Illinois Institute of Technology, Portland

State University, and Colorado State University. 138

      152. Defendant’s messaging to consumers included detailed

information concerning the CARES ACT.

      153. For example, on its website, it has an entire page dedicated

to the topic: 139




      154. On this page, Defendant provides the roadmap for

purchasers to obtain government funding to purchase its Products. For

example: 140

          a. “Your company may be able to tap into federal funds to

             improve indoor air quality and fight pathogens such as


138 See Zeng, Manwatkar, et. al., supra note 76.
139 Global Plasma Solutions, How to Channel the CARES Act into Cleaner, Safer
Indoor Air, https://globalplasmasolutions.com/articles/how-to-channel-the-cares-act-
into-cleaner-safer-indoor-air.
140 Id. (emphasis added).


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           COVID-19. Several provisions outlined in new legislation

           allow schools and universities, health care providers and

           small businesses to tackle air quality improvement

           projects with minimal financial impact.”

        b. “Small Businesses: As payments from the second round of

           the Paycheck Protection Program (PPP) begin rolling out,

           small businesses can apply funds to utility expenses and

           other related costs as a result of the COVID-19 pandemic.”

     155. Purchasers relied upon these representations that they were

obtaining a product that would not only make the air cleaner but also

eliminate the COVID-19 virus. For example, numerous purchasers used

CARES ACT funds to pay for Defendant’s Products:




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     156. One critical factor for Plaintiff and Class Members’ decision

to purchase the Products was the belief that it could safely protect them

from COVID-19, and that the representations made by Defendant were

based on sound, scientific studies.

     157.   Defendant amplified its deceptions in many venues over a

multi-year period with the intent to instill in consumers the belief that

the Products were vastly superior to existing technology and capable of

providing safe, clean air that lowers, removes, and eradicates VOCs

while also attacking the COVID-19 virus. Plaintiff and the Class

Members saw these claims and relied on them in purchasing the

Products, believing that they were buying the best air treatment

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systems available when in fact they were purchasing systems that

produce harmful byproducts and are largely ineffective.

  F. Global Plasma Solutions Concealed these Deceptions and
     Defects

     158. Defendant designed, manufactured, marketed, and sold the

Products throughout the United States while knowingly concealing

these defects and deceptions.

     159. As described by independent testing sources, the Products

are incapable of performing as marketed. The Products are not able to

“safely” clean the air of VOCs and the COVID-19 virus without

generating harmful byproducts. Consequentially, Defendant’s claims

regarding the performance, capabilities, and therapeutic benefits of the

Products are false, deceptive, and misleading.

     160. Defendant’s claims were material to Plaintiff and the Class

Members but Defendant did not disclose to purchasers of the Products

that the devices were defective and unable to fulfill many of Defendant’s

advertising claims. As a result, Plaintiff and the Class Members

purchased devices that they would not have otherwise purchased or for

which they would have paid less. Many Class Members relied on

Defendant’s assertions that the Products were capable of producing

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specific outcomes—e.g., creating a safe environment by safely

eradicating the COVID-19 virus —and received devices that were unfit

for the purposes for which they were purchased.

     161. Defendant’s “profits over people” scheme won the company

acclaim, publicity, and generated hundreds of millions of dollars in sales

at the expense of the Plaintiff and Class Members across the country

and in violation of all applicable laws referenced herein.



                 FACTS SPECIFIC TO PLAINTIFF

     162. In March 2021, Plaintiff purchased Defendant’s GPS-FC48-

AC Compact Auto-Cleaning Ionization System from Ecozapp, located in

College Station, Texas.

     163. Plaintiff paid approximately $750.67 for the device.

     164. Plaintiff was in the market for a device to improve air

quality, particularly one that would mitigate the effects of COVID19.

     165. Prior to purchasing, Plaintiff had observed and read

Defendant’s representations on its website, brochures, interviews,

articles, videos, and social media that its Products could safely clean the

air, remove VOCs, effectively attack COVID-19, and supported by sound


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independent testing. Further, Plaintiff observed and read similar

representations that were repeated by distributors and sellers of the

Products.

     166. Plaintiff has seen Defendant’s representations regarding

Defendant’s superior air treatment system, which persuaded him to

keep using the device.

     167. At all relevant times, Plaintiff used and maintained the unit

as would any reasonable consumer and in accordance with Defendant’s

instruction.

     168. At no point during his ownership or use of the Product did

Plaintiff notice any improvement in the air quality and continued to

endure the presence of airborne irritants, despite Defendant’s claim

that its Products would improve air quality.

     169. Plaintiff fears future injury and physical harm for himself,

family members, friends, and other people that may have been exposed

as a result of his use of Defendant’s Product.

     170. He would not have purchased the Product if he had known

about the defects or that Defendant was misrepresenting the

performance, capabilities, and benefits of the Product. In particular, he


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would not have purchased the Product if he had known that

Defendant’s representations were false and that Defendant concealed

the product’s defective nature.

      171. Prior to the filing of this Complaint, Plaintiff sent a pre-suit

notice concerning the defects described herein and consumers’

experiences with the defects to both Defendant and retailer.



              CLASS DEFINITIONS AND ALLEGATIONS

      172. Plaintiff, pursuant to Federal Rules of Civil Procedure

23(b)(2) and 23(b)(3), brings this action on behalf of the following

classes (collectively, the “Class,” “Classes,” and “Class Members”):

             National Class: All persons in the United States who
             purchased the Products.

             Consumer Protection Multi-State Class: All persons in
             the States of California, Florida, Illinois, Maryland,
             Massachusetts, Minnesota, Missouri, New Jersey, New York,
             Pennsylvania, Texas, and Washington who purchased the
             Products. 141

141 The States in the Consumer Protection Multi-State Class are limited to those
States with similar consumer protection laws under the facts of this case: California
(Cal. Bus. & Prof. Code § 17200, et seq.); Florida (Fla. Stat. § 501.201, et seq.);
Illinois (815 ILCS 505/1, et seq.); Massachusetts (Mass. Gen. Laws Ch. 93A, et seq.);
Michigan (Mich. Comp. Laws § 445.901, et seq.); Minnesota (Minn. Stat. § 325F.67,
et seq.); Missouri (Mo. Rev. Stat. 407.010, et seq.); New Jersey (N.J. Stat. § 56:8-1,
et seq.); New York (N.Y. Gen. Bus. Law § 349, et seq.); Pennsylvania (73 Pa. Stat.
Ann. §§ 201-1 et seq.); and Washington (Wash Rev. Code § 19.86.010, et seq.).
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           Maryland Subclass: All persons in the State of Maryland
           who purchased the Products within the state or from the
           state.

     173. Excluded from the Classes are Defendant, its parents,

subsidiaries, affiliates, officers, and directors, those who purchased the

Products for resale, all persons who make a timely election to be

excluded from the Classes, the judge to whom the case is assigned and

any immediate family members thereof.

     174. The members of the Classes are so numerous that joinder of

all Class Members is impracticable. Defendant has sold, at a minimum,

tens of thousands of units of the Products to Class Members.

     175. There is a well-defined community of interest in the

questions of law and fact involved in this case. Questions of law and fact

common to the members of the putative classes that predominate over

questions that may affect individual Class Members include, but are not

limited to the following:

        a. whether Defendant misrepresented material facts

           concerning the Products;

        b. whether Defendant misrepresented material facts

           concerning the Products in the marketing of every Product;

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        c. whether Defendant’s conduct was unfair and/or deceptive;

        d. whether Defendant has been unjustly enriched as a result of

           the unlawful, fraudulent, and unfair conduct alleged in this

           Complaint such that it would be inequitable for Defendant to

           retain the benefits conferred upon it by Plaintiff and the

           classes;

        e. whether Plaintiff and the Classes are entitled to equitable

           and/or injunctive relief;

        f. whether Defendant breached express warranties to Plaintiff

           and the Classes;

        g. whether Defendant breached implied warranties to Plaintiff

           and the Classes;

        h. whether Plaintiff and the classes have sustained damages

           with respect to the common-law claims asserted, and if so,

           the proper measure of their damages.

     176. Plaintiff’s claims are typical of those of other Class Members

because Plaintiff, like all members of the Classes, purchased

Defendant’s Products in reliance of Defendant’s misrepresentations and




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omissions. Plaintiff sustained damages from Defendant’s wrongful

conduct.

     177. Plaintiff will fairly and adequately protect the interests of

the classes and has retained counsel that is experienced in litigating

complex class actions. Plaintiff has no interests which conflict with

those of the classes.

     178. A class action is superior to any other available means for

the fair and efficient adjudication of this controversy, and no unusual

difficulties are likely to be encountered in the management of this class

action. The damages or other financial detriment suffered by Plaintiff

and the other Class Members are relatively small compared to the

burden and expense that would be required to individually litigate their

claims against Defendant, making it impracticable for Class Members

to individually seek redress for Defendant’s wrongful conduct. Even if

Class Members could afford individual litigation, the court system could

not. Individualized litigation creates a potential for inconsistent or

contradictory judgments, and increases the delay and expense to all

parties and the court system. By contrast, the class action device

presents far fewer management difficulties, and provides the benefits of


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single adjudication, economies of scale, and comprehensive supervision

by a single court.

     179. The prerequisites to maintaining a class action for equitable

relief are met as Defendant has acted or refused to act on grounds

generally applicable to the classes, thereby making appropriate

equitable relief with respect to the classes as a whole.

     180. The prosecution of separate actions by members of the

classes would create a risk of establishing inconsistent rulings and/or

incompatible standards of conduct for Defendant. For example, one

court might enjoin Defendant from performing the challenged acts,

whereas another might not. Additionally, individual actions could be

dispositive of the interests of the classes even where certain Class

Members are not parties to such actions.



                         CAUSES OF ACTION

                            COUNT I
             Deceit and Fraudulent Concealment
     (On Behalf of the National Class and, alternatively, the
                       Maryland Subclass

     181. Plaintiff repeats and realleges each and every allegation

contained in the foregoing paragraphs as if fully set forth herein.

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     182. Plaintiff asserts this claim individually and on behalf of the

National Class. In the alternative, this claim is brought on behalf of the

Maryland Subclass.

     183. Defendant made false representations concerning the

performance and quality of the Products, and the quality of the

Defendant’s brand. Further, Defendant concealed and suppressed

material facts concerning the performance and quality of the Products,

the quality of the Defendant’s brand, the Products’ capabilities and

benefits, and the Products’ defects. Defendant knew, or in the exercise

of reasonable diligence should have known, of the defects and

misrepresentations of the capabilities and benefits of the Products but

failed to disclose these facts prior to or at the time it marketed Products

and sold them to consumers. Defendant engaged in this concealment in

order to increase sales of its Products and command a higher price for

its Products.

     184. Plaintiff and Class Members had no reasonable way of

knowing that Defendant’s representations were false and misleading, or

that Defendant had omitted to disclose highly important details

relating to the Products’ performance and the defects. Plaintiff and


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Class Members did not and could not reasonably discover Defendant’s

deception on their own.

     185. Defendant had a duty to disclose the true performance of the

Products because the scheme and its details were known and accessible

only to Defendant; Defendant had superior knowledge and access to the

relevant facts; and Defendant knew these facts were neither known to,

nor reasonably discoverable by, Plaintiff and the Class Members.

     186. Defendant still has not made full and adequate disclosures

and continues to defraud consumers by concealing material information

regarding the true performance of the Products.

     187. Plaintiff and Class Members were unaware of the omitted

material facts and would not have purchased the Products had they

known of the facts Defendant suppressed. Plaintiff’s and Class

Members’ actions in purchasing the Products were justified. Defendant

was in exclusive control of the material facts and such facts were not

reasonably known to the public, Plaintiff, or Class Members.

     188. Plaintiff and Class Members relied to their detriment upon

Defendant’s representations, fraudulent misrepresentations, and

material omissions regarding the quality of the Products, the Products’


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effectiveness, and the Products’ defects in deciding to purchase their

devices.

     189. Plaintiff and Class Members sustained damage as a direct

and proximate result of Defendant’s deceit and fraudulent concealment.

Among other damages, Plaintiff and Class Members did not receive the

value of the premium price they paid for their Products. Plaintiff and

Class Members would not have purchased Products – or would have

purchased them at a much lower price – had they known of the

Products’ inability to safely and effectively cleanse the air of VOCs and

the COVID-19 virus owing to the defects.

     190. Defendant’s acts were done maliciously, oppressively,

deliberately, with intent to defraud, and in reckless disregard of

Plaintiff’s and Class Members’ rights and well-being, to enrich

Defendant. Defendant’s conduct warrants an assessment of punitive

damages in an amount sufficient to deter such conduct in the future,

which amount is to be determined according to proof.




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                           COUNT II
                  Breach of Express Warranty
     (On Behalf of the National Class and, alternatively, the
                       Maryland Subclass)

     191. Plaintiff repeats and realleges each and every allegation

contained in the foregoing paragraphs as if fully set forth herein.

     192. Plaintiff asserts this claim individually and on behalf of the

National Class. In the alternative, this claim is brought on behalf of the

Maryland Subclass.

     193. Defendant created an express warranty within the meaning

of the U.C.C. and the respective state statutes under which Plaintiff

alternatively assert this claim.

     194. In particular, Plaintiff and Class Members, who purchased

the Products received materially similar, if not identical, written

warranties from the Defendant.

     195. At all relevant times, including prior to and at the time of

their purchases of Products, Plaintiff and Class Members relied on

Defendant’s claims, promises, and representations. These promises

were part of the basis of the bargain connected with these transactions

for the sale of goods, and thus qualify as “express warranties” as defined

by the U.C.C.

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     196. Defendant breached its express warranty by:

        a. selling Plaintiff and Class Members Products that were

           unable to safely and effectively cleanse the air after

           representing that the Products use “the safest, most effective

           technology on the market” which “destroys VOCs” and “is

           effective against COVID-19” “without producing…harmful

           byproducts.”

        b. Selling Plaintiff and Class Members Products that had

           representations that were supported by independent studies

           conducted in real world conditions;

        c. selling Plaintiff and Class Members Products containing

           defective materials responsible for the defects, which caused

           the Products to fail to function properly; and

        d. failing to adequately repair or replace Products affected by

           these defects.

     197. Defendant did not furnish an effective remedy to Plaintiff

and Class Members. Despite opportunities to honor the promises in its

express warranty, Defendant failed to provide Plaintiff and Class

Members with conforming Products free of defects and failed to repair


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the Products to make them conform to the representations made at the

time of sale.

     198. Plaintiff and Class Members experienced the defects within

the warranty period. In breach of its express warranty, Defendant failed

to inform Plaintiff and Class Members that the Products contained

defective materials and workmanship and failed to replace or repair the

defective Products.

     199. Defendant breached its express warranty that promised to

replace or repair and correct manufacturing, materials or workmanship

defects, and to provide Products conforming to the warranties. To date,

Defendant has not replaced nor repaired or adjusted the Products, and

has been unable to repair or adjust, the defects in the Products.

     200. Through advertisements, public statements, and other

statements disseminated through print and online media, Defendant

expressly warranted several attributes and qualities of the Products by

representations as detailed above, such as:

        a. “[Products use] the safest, most effective technology on the

           market.”

        b. “without producing…harmful byproducts.”


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        c. “[Product] is effective against COVID-19.”

        d. “[Product] destroys VOCs.”

        e. “[Product is] completely safe for humans and animals.”

        f. “[Product has] no health concerns.”

        g. “[Product is] a safe, effective solution.”

        h. “[Product is] unlike many other solutions on the market,

            GPS NPBI technology is also safe for occupied spaces.”

        i. “[Product] breaks down odors, gases and VOC's into

            harmless compounds.”

        j. “[Product] is proven by independent laboratory testing.”

     201. Class Members were exposed to and relied on the foregoing

statements when they decided to buy the Products. Accordingly,

Defendant’s express warranties formed part of the basis of the bargain

that was reached when Plaintiff and Class Members purchased their

Products.

     202. Defendant breached these express warranties because the

Products did not, in fact, use “the safest, most effective technology on

the market” to “destroy[] VOCs” and prove “effective against COVID-19”

“without producing…harmful byproducts.” Defendant failed to


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adequately repair or replace Plaintiff’s and Class Members’ Products

when they reported that they suffered from the defects during the

warranty period. Despite reasonable opportunities to honor the

promises in its express warranties, Defendant failed to provide Plaintiff

and Class Members with conforming, non-defective Products.

     203. Defendant received timely notice of the breaches experienced

by Plaintiff and Class Members. Defendant had exclusive knowledge of

the defects before the Products were sold. Defendant also received

notice of the defects by the large volume of complaints lodged by

concerned citizens and consumers about the defects shortly after the

product was publicly revealed. These complaints were received directly

from consumers as well as from vendors who sold the Products who

received the complaints and relayed them to Defendant.

     204. Plaintiff and Class Members used their Products in a

manner consistent with the Products’ operating instructions. Plaintiff

and Class Members performed their duties under the terms of the

foregoing express warranties or have been excused from such

performance as a result of Defendant’s conduct described herein.




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     205. Any attempt by Defendant to disclaim or limit its express

warranties vis-à-vis consumers would be inappropriate under these

circumstances. Any such asserted limitation is unconscionable and

unenforceable because Defendant knowingly sold a defective product

without informing consumers and because Defendant failed to honor

their express promises.

     206. As a direct and proximate result of Defendant’s breaches of

express warranty, Plaintiff and Class Members have suffered economic

damages, including costly repairs, loss of use, replacement costs,

substantial loss in value and resale value of the Products, and other

harm.

                           COUNT III
       Breach of the Implied Warranty of Merchantability
     (On Behalf of the National Class and, alternatively, the
                       Maryland Subclass)

     207. Plaintiff repeats and realleges each and every allegation

contained in the foregoing paragraphs as if fully set forth herein.

     208. Plaintiff asserts this claim individually and on behalf of the

National Class. In the alternative, this claim is brought on behalf of the

Maryland Subclass.



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     209. Defendant is a “merchant” as defined under the U.C.C. and

by the respective state statutes under which Plaintiff alternatively

asserts this claim.

     210. The Products are “goods” as defined under the U.C.C. and by

the respective state statutes under which Plaintiff alternatively brings

this claim.

     211. Defendant impliedly warranted that the Products were of a

merchantable quality. The law implies a warranty that the Products

were merchantable in the relevant transactions. The Products, when

sold and at all times thereafter, were not in merchantable condition due

to the defects and other conditions as alleged above and are not fit for

the ordinary purpose for which air treatment systems are used, e.g., to

safely cleanse the air of VOCs and the COVID-19 virus.

     212. At the point of sale, the Products contained unseen

manufacturing or materials defects whose manifestation renders the

product ineffective. These defects in the Products existed when the

Products left Defendant’s possession and rendered them unfit for their

ordinary and intended purpose. At all relevant times, including when

the Products entered the stream of commerce and were purchased by


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Plaintiff and Class Members, the Products were defective and not

capable of functioning as advertised.

     213. Defendant breached the implied warranty of merchantability

because the Products are not of a merchantable quality, but instead

contained the defects. Had Plaintiff and Class Members known of the

defects, they would not have purchased Defendant’s Products, or would

have paid less for them.

     214. Plaintiff and Class Members’ interactions with Defendant

suffice to create privity of contract between Plaintiff and Class

Members, on the one hand, and Defendant, on the other hand; however,

privity of contract need not be established nor is it required because

Plaintiff and Class Members are intended third party beneficiaries of

contracts (including implied warranties) between Defendant and the

retailers who sell the Products. Defendant’s warranties were designed

for the benefit of consumers who purchased the Products.

     215. As a direct and proximate result of the breach of said

warranties, Plaintiff and Class Members were injured and are entitled

to damages.




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     216. Defendant’s attempts to disclaim or limit the implied

warranty of merchantability vis-à-vis consumers are unconscionable

and unenforceable. Specifically, Defendant’s warranty limitations are

unenforceable because Defendant knowingly sold a defective product

without informing consumers about the defects.

     217. The time limits contained in Defendant’s warranty period

were also unconscionable and inadequate to protect Plaintiff and the

Class Members. Among other things, Plaintiff and members of the

Class had no meaningful choice in determining these time limitations,

terms which unreasonably favor Defendant. A gross disparity in

bargaining power existed between Defendant and Class members, as

only Defendant knew or should have known that the Products were

defective at the time of sale and that the devices were not of

merchantable quality.

     218. Plaintiff and Class Members have complied with all

obligations under the warranty or otherwise have been excused from

performance of said obligations as a result of Defendant’s conduct

described herein.




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     219. Defendant was provided notice of these issues. Defendant

had exclusive knowledge of the defects before the Products were sold.

Defendant also received notice of the defects by the large volume of

complaints lodged by concerned citizens and consumers about the

defects. These complaints were received directly from consumers as well

as from vendors who sold the Products who received the complaints and

relayed them to Defendant.

     220. Additionally, Defendant was aware of these issues by the

academic papers, news articles, and other medium which covered the

deceptions and defects described herein.

     221. Prior to the filing of this Complaint, Plaintiff sent a pre-suit

notice concerning the defects described herein and consumers’

experiences with the defects to both Defendant and retailer.

     222. Defendant’s breach of the implied warranty of

merchantability damaged Plaintiff and Class Members in an amount to

be determined at trial.




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                            COUNT IV
        Violation of the Magnusson-Moss Warranty Act,
               15 U.S.C. §§ 2301 et seq. (“MMWA”)
     (On Behalf of the National Class and, alternatively, the
                       Maryland Subclass)

     223. Plaintiff repeats and realleges each and every allegation

contained in the foregoing paragraphs as if fully set forth herein.

     224. Plaintiff asserts this claim individually and on behalf of the

National Class. In the alternative, this claim is brought on behalf of the

Maryland Subclass.

     225. Plaintiff and Class Members are “consumers” within the

meaning of the MMWA. 15 U.S.C. § 2301(3).

     226. The Products are “consumer products” within the meaning of

the MMWA. 15 U.S.C. § 2301(1).

     227. Defendant is a “supplier” and “warrantor” within the

meaning of the MMWA. 15 U.S.C. § 2301(4)-(5).

     228. Defendant’s express warranties are written warranties

within the meaning of Section 2301(6) of the MMWA. The Products’

implied warranties are accounted for under Section 2301(7) of the

MMWA. Defendant cannot disclaim implied warranties under the




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MMWA because Defendant knowingly sold a defective product without

informing consumers about the defects.

     229. The Products’ implied warranties are covered by the

MMWA, 15 U.S.C. § 2301(7).

     230. Defendant’s express warranty is a “written warranty” within

the meaning of 15 U.S.C. § 2301(6).

     231. As set forth herein, Defendant breached its warranties with

Plaintiff and Class Members.

     232. The Products share common defects in that they are unable

to effectively safely clean the air and otherwise fail to satisfy

Defendant’s advertising claims.

     233. Prior to the filing of this Complaint, Plaintiff sent a pre-suit

notice concerning the defects described herein and consumers’

experiences with the defects to both Defendant and retailer.

     234. Despite notice by Plaintiff and the Class Members to

Defendant of the defective nature of the Products, Defendant did not

replace or repair the defective Products. Instead, the costs of the defects

were borne by consumers.




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     235. As a direct and proximate result of Defendant’s breach of

implied and express warranties pursuant to 15 U.S.C. § 2310(d)(1),

Plaintiff and Class Members have suffered damages in an amount to be

proven at trial.

     236. The amount in controversy for the Plaintiff’s and Class

Members’ individual claims meets or exceeds the sum of $25. The total

amount in controversy of this action in sum exceeds $50,000, exclusive

of interest and costs, computed on the basis of all claims to be

determined in this lawsuit.

     237. Plaintiff and Class Members are entitled to recover damages

as a result of Defendant’s breach of warranties.

     238. Plaintiff and Class Members are also entitled to seek costs

and expenses, including attorneys’ fees, under the MMWA. 15 U.S.C. §

2310(d)(2).

                           COUNT V
   Breach of the Implied Warranty of Fitness for a Particular
                           Purpose
    (On Behalf of the National Class and, alternatively, the
                      Maryland Subclass)

     239. Plaintiff repeats and realleges each and every allegation

contained in the foregoing paragraphs as if fully set forth herein.


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     240. Plaintiff asserts this claim individually and on behalf of the

National Class. In the alternative, this claim is brought on behalf of the

Maryland Subclass.

     241. Defendant is a “merchant” as defined under the UCC.

     242. The Product are “goods” as defined under the UCC.

     243. Defendant engaged in a focused marketing campaign to

consumers concerned about air quality from the COVID-19 pandemic

and has reason to know that Plaintiff and Class Members purchased

the Products for a particular purpose, e.g., to eliminate the COVID-19

virus and to remove VOCs and other toxic substances from the air in

order to improve air quality that was reduced by the COVID-19

pandemic, and that Plaintiff relied on Defendant’s skill or judgment to

furnish devices that accomplished that purpose and others.

     244. Plaintiff did in fact rely on Defendant’s skill or judgment to

furnish devices that accomplished that purpose and others.

     245. Defendant breached the implied warranty of fitness because

the Products were incapable of satisfying that purpose, among others,

due to the defects and other conditions as alleged above.




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      246. Plaintiff was harmed by Defendant’s breach of the implied

warranty of fitness by, inter alia, overpaying for the Products.

      247. Plaintiff and Class Members’ interactions with Defendant

suffice to create privity of contract between Plaintiff and Class

Members, on the one hand, and Defendant, on the other hand; however,

privity of contract need not be established nor is it required because

Plaintiff and Class Members are intended third party beneficiaries of

contracts (including implied warranties) between Defendant and the

distributors and retailers who sell the Products. Defendant’s warranties

were designed for the benefit of consumers who purchased the Products.

      248. As a direct and proximate result of the breach of said

warranties, Plaintiff and Class Members were injured and are entitled

to damages.

      249. Defendant’s attempts to disclaim or limit the implied

warranty of fitness vis-à-vis consumers are unconscionable and

unenforceable. Specifically, Defendant’s warranty limitations are

unenforceable because Defendant knowingly sold a defective product

without informing consumers about the defects.




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      250. The time limits contained in Defendant’s warranty period

were also unconscionable and inadequate to protect Plaintiff and

members of the Classes. Among other things, Plaintiff and members of

the Classes had no meaningful choice in determining these time

limitations, terms which unreasonably favor Defendant. A gross

disparity in bargaining power existed between Defendant and Class

members, as only Defendant knew or should have known that the

Products were defective at the time of sale and that the devices were

not of merchantable quality.

      251. Plaintiff and Class Members have complied with all

obligations under the warranty or otherwise have been excused from

performance of said obligations as a result of Defendant’s conduct

described herein.

      252. Defendant was provided notice of these issues by complaints

lodged by consumers before or within a reasonable amount of time after

the allegations of the defects became public.

      253. Prior to the filing of this Complaint, Plaintiff sent pre-suit

notice concerning the defects and other consumers’ experiences with the

defects.


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                           COUNT VI
       Violation of State Consumer Protection Statutes
 (On Behalf of the Consumer Protection Statutes of Multi-State
                            Class)

      254. Plaintiff repeats and realleges each and every allegation

contained in the foregoing paragraphs as if fully set forth herein.

      255. Plaintiff asserts this claim individually and on behalf of the

Consumer Protection Multi-State Class.

      256. The Consumer Protection Acts of the States in the Consumer

Protection Multi-State Class prohibit the use of unfair or deceptive

business practices in the conduct of trade or commerce.

      257. Defendant intended that Plaintiff and each of the other

members of the Consumer Protection Multi-State Class would rely upon

their deceptive conduct, and a reasonable person would in fact be misled

by its deceptive conduct.

      258. As a result of the Defendant’s use or employment of unfair or

deceptive acts or business practices, Plaintiff, and each of the other

members of the Consumer Protection Multi-State Class, have sustained

damages in an amount to be proven at trial.




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      259. In addition, Defendant’s conduct showed malice, motive, and

the reckless disregard of the truth such that an award of punitive

damages is appropriate.

                           COUNT VII
 Violation of the Maryland Consumer Protection Act (“MCPA”),
                  Md. Com. Law §§ 13-301, et seq.
              (On Behalf of the Maryland Subclass)

      260. Plaintiff repeats and realleges each and every allegation

contained in the foregoing paragraphs as if fully set forth herein.

      261. Plaintiff asserts this claim individually and on behalf of the

Maryland Subclass.

      262. This cause of action is brought pursuant to the Maryland

Consumer Protection Act (“MCPA”). MD Code Ann. §§ 13-101, et seq.

The express purpose of the MCPA is to “set certain minimum statewide

standards for the protection of consumers across the State” because

“consumer protection is one of the major issues which confront all levels

of government, and that there has been mounting concern over the

increase of deceptive practices in connection with sales of merchandise,

real property, and services and the extension of credit. MD Code Ann.

§§ 13-102.



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      263. Plaintiff is a “consumer” as defined by the MCPA. MD Code

Ann. §§ 13- 101(c)(1).

      264. Defendant’s Products are “consumer goods” and

“merchandise” within the meaning of the MCPA. MD Code Ann. §§ 13-

101(d)(1)-(2),(f).

      265. Defendant is a “merchant” engaged in sales, advertising, and

commerce within the meaning of the MCPA. MD Code Ann. §§ 13-101.

      266. The MCPA declares certain actions as unlawful “unfair or

deceptive trade practices.” MD Code Ann. §§ 13-102. Defendant’s unfair

or deceptive trade practice in violation of the MCPA includes making

“[f]alse, falsely disparaging, or misleading oral or written statement,

visual description, or other representation of any kind which has the

capacity, tendency, or effect of deceiving or misleading consumers”;

representing that its “goods and services have a sponsorship, approval,

accessory, characteristic, ingredient, use, benefit, or quantity which

they do not have”; advertising consumer goods without the intent to sell

them as advertised; and engaging in “[d]eception, fraud, false pretense,

false premise, misrepresentation, or knowing concealment, suppression,

or omission of any material fact with the intent that a consumer rely on


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the same in connection” with the promotion or sale of its consumer

goods and services. MD Code Ann. §§ 13-103.

      267. As set forth more thoroughly above, Defendant’s claims are

false, deceptive, and misleading to consumers because Defendant’s

Products do not safely clean the air of VOCs and the COVID-19 virus.

      268. Plaintiff has standing to pursue this claim because he has

been injured by virtue of suffering a loss of money and/or property as a

result of the wrongful conduct alleged herein. Plaintiff would not have

purchased Defendant’s Products (or paid a premium for them) had he

known the truth concerning the Products’ defects. As a direct result of

Defendant’s actions and omissions of material facts, Plaintiff and

Maryland Subclass members did not obtain the value of the products for

which they paid; were induced to make purchases that they otherwise

would not have; and lost their ability to make informed and reasoned

purchasing decisions.

      269. The damages suffered by Plaintiff and the Maryland

Subclass were directly and proximately caused by the deceptive,

misleading and unfair practices of Defendant as described above.




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      270. Plaintiff and the Maryland Subclass make claims for actual

damages, attorney's fees and costs. MD Code Ann. §§ 13-408.

                           COUNT VIII
                        Unjust Enrichment
      (On Behalf of the National Class and, alternatively, the
                        Maryland Subclass)

      271. Plaintiff repeats and realleges each and every allegation

contained in the foregoing paragraphs as if fully set forth herein.

      272. Plaintiff asserts this claim individually and on behalf of the

National Class. In the alternative, this claim is brought on behalf of the

Maryland Subclass.

      273. At all times relevant hereto, Defendant deceptively

marketed, advertised, and sold merchandise to Plaintiff and the

Classes.

      274. The Products purchased by Plaintiff and the Class Members

did not provide the promised performance and instead contained

uniform defects.

      275. Plaintiff and Class Members conferred upon Defendant non-

gratuitous payments for the Products that they would not have if not for

Defendant’s deceptive advertising and marketing.



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      276. Defendant accepted or retained the non-gratuitous benefits

conferred by Plaintiff and Class Members, with full knowledge and

awareness that, as a result of Defendant’s deception, Plaintiff and Class

members were not receiving a product of the quality, nature, fitness, or

value that had been represented by Defendant and reasonable

consumers would have expected.

      277. At the time of Plaintiff and Class Members’ purchases,

Defendant knew of the Products’ defects and true efficacy. Knowing

that their representations were false, Defendant sold the Products to

Plaintiff and Class Members at a premium price. Accordingly,

Defendant continues to retain a benefit improperly obtained to the

detriment of Plaintiff and Class Members.

      278. Defendant has been unjustly enriched in retaining the

revenues derived from Plaintiff’s and Class Members’ purchases of the

Products. Retention of those monies under these circumstances is

unjust and inequitable because of Defendant’s misrepresentations about

the Products, which caused injuries to Plaintiff and Class Members

because they would not have purchased the Products if the true facts

had been known.


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      279. Because Defendant’s retention of the non-gratuitous benefits

conferred on it by Plaintiff and Class Members is unjust and

inequitable, Defendant must pay restitution to Plaintiff and Class

Members for their unjust enrichment, as ordered by the Court.



                          RELIEF DEMANDED

      280. WHEREFORE, Plaintiff, individually and on behalf of all

others similarly situated, seeks judgment against Defendant, as follows:

         a. For an order certifying the Class under Rule 23 of the

            Federal Rules of Civil Procedure and naming Plaintiff as

            representative of the Classes and Plaintiff’s attorneys as

            Class Counsel to represent the members of the Classes;

         b. For an order declaring the Defendant’s conduct violates the

            statutes and laws referenced herein;

         c. For an order awarding, as appropriate, compensatory and

            monetary damages, restitution or disgorgement to Plaintiff

            and the Classes for all causes of action;

         d. For an order requiring Defendant to immediately cease and

            desist from selling its misbranded Products in violation of


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              law; enjoining Defendant from continuing to label, market,

              advertise, distribute, and sell the Products in the unlawful

              manner described herein; and ordering Defendant to engage

              in corrective action;

         e. For pre-judgment and post-judgment interest on all amounts

              awarded;

         f. For an order awarding punitive damages;

         g. For an order awarding attorneys’ fees and expenses and

              costs of suit; and

         h. Granting such other relief as the Court deems just and

              appropriate.


                               JURY DEMAND

      Plaintiff demands a trial by jury on all causes of action and issues
so triable.


Dated: May 7, 2021
                                                      Respectfully submitted,

                                      CHIMICLES SCHWARTZ KRINER &
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